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     360HEROS, INC.
7

8
                                          UNITED STATES DISTRICT COURT
9
                                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
10

11
     GOPRO, INC., a Delaware corporation,            )       Case No.: 16-cv-01944-SI
12                                                   )
                                   Plaintiff,        )       Honorable Susan Illston
13                                                   )
              vs.                                    )
14                                                   )       DECLARATION OF JAMES A. LOWE IN
                                                     )
15   360HEROS, INC., a Delaware corporation,         )       OPPOSITION TO GOPRO’S MOTION FOR
                                                     )       SUMMARY JUDGMENT
16                                 Defendant.        )
                                                     )       Date: November 3, 2017
17                                                   )       Time: 9:00 a.m.
                                                     )       Ctrm: 1, 17th Floor
18                                                   )
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     213623_4-10798-002-10/6/17                                                        LOWE DECL IN OPP. TO MSJ
                                                         1                                 – Case No. 16-cv-01944-SI
1             JAMES A LOWE, pursuant to 28 U.S.C. § 1746, declares:

2             1.        I am a partner with Gauntlett & Associates (“G&A”), and I am lead defense counsel

3    for Defendant and Counterclaimant 360Heros, Inc. in this case.
4
              2.        I know the facts set forth in this declaration to be true and correct based on my
5
     personal knowledge thereof and, if called to testify, I could and would testify competently thereto.
6
              3.         I am licensed to practice law in California and Colorado. I have practiced law for
7
     more than forty-five years, thirty-five of them focusing on intellectual property litigation. I am
8

9    admitted to practice before all federal district courts in California and Colorado, and several other

10   U.S. District Courts. I am admitted to practice before the U.S. Supreme Court and nine U.S. Courts
11   of Appeal including the Tenth, Ninth, Eighth, Seventh, Sixth, Fourth, Second, and Federal Circuits. I
12
     have appeared before state and federal courts in twenty-five states. I have litigated thousands of
13
     lawsuits in my career and have tried several hundred cases, mostly to juries.
14
              4.        On September 15, 2017, GoPro filed a Motion for Summary Judgment (the “MSJ”)
15

16   for Copyright Infringement, Lack of Standing for Patent Infringement, and Non-Infringement of

17   U.S. Patent 9,152,019 (the “`019 Patent”). [Dkt. 90-9].

18                                                Patent Standing
19            5.        On April 3, 2013 Michael Kintner entered into a License Agreement with 360Heros,
20   Inc., authorizing that corporation to practice his patents and giving 360Heros, Inc. the exclusive right
21
     to sue for any infringement of the patents once sixty days has passed after an infringement is
22
     discovered. The agreement requires Michael Kintner to cooperate with 360Heros, Inc. in pursuing
23
     any patent infringement action. A copy of this License Agreement is being filed under seal as
24

25   Exhibit 276.

26            6.        On November 5, 2013 prosecuting patent attorney, Peter Bilinski, as an agent and on

27   behalf of Michael Kintner, filed with the United States Patent and Trademark Office (“USPTO”), as
28

     213623_4-10798-002-10/6/17                                                      LOWE DECL IN OPP. TO MSJ
                                                        2                                – Case No. 16-cv-01944-SI
1    part of the application that would mature into the `019 Patent, a Patent Application Data Sheet which

2    identified “360 Heros, Inc.” as the assignee of the application and any patent that matured from the
3
     application, which included the `019 patent. A copy of this Patent Application Data Sheet is attached
4
     as Exhibit 277.
5
              7.        On August 12, 2015 Peter Bilinski filed with the USPTO the Inventor’s Declaration
6
     personally signed and dated by Michael Kintner in which he declared that the application, which
7

8    would mature into the `019 Patent, was “authorized to be made by [him].” A copy of this Inventor’s

9    Declaration is attached as Exhibit 278.
10            8.        On October 6, 2015 the `019 Patent was issued by the USPTO to 360Heros, Inc. A
11
     copy of this `019 Patent is attached as Exhibit 207.
12
              9.        Michael Kintner executed an assignment form on October 21, 2016 for the `019
13
     Patent which recited that the assignment was “as previously confirmed.” That assignment form was
14

15   recorded with the USPTO on October 24, 2016. A copy of this assignment form is attached as

16   Exhibit 279.

17            10.       GoPro filed the Complaint in this case against 360Heros, Inc. on April 13, 2016
18   seeking a declaration that none of its products infringed the `019 patent [Dkt. 1:19].
19
              11.       360Heros, Inc. filed a compulsory Counterclaim for patent infringement against
20
     GoPro on August 22, 2016 [Dkt. 25].
21
              12.       360Heros, Inc. served GoPro on October 21, 2016 with its Disclosure of Asserted
22

23   Claims and Infringement Contentions. A copy of this Infringement Contentions is attached as

24   Exhibit 202.

25            13.       The Patent Local Rules in effect as of October 21, 2016 are different from the Patent
26
     Local Rules that went into effect as of January 1, 2017. A copy of the 9-26-2016 Patent Local Rules
27
     Public Comment Draft that illustrates the old rules and the proposed changes for the 2017 version, is
28

     213623_4-10798-002-10/6/17                                                       LOWE DECL IN OPP. TO MSJ
                                                         3                                – Case No. 16-cv-01944-SI
1    attached as Exhibit 280.

2                                             Copyright Infringement
3             14.        GoPro produced in discovery to 360Heros, Inc. a document bearing Bates No. GP
4
     17352 – GP 17356, an April 4, 2016 signature claimed to be of Carter Dow asserting that he took
5
     photographic images identified as Hero4 Black 3 Camera View (H4B 3), Hero4 Black 2 Camera
6
     View (H4B 2), Hero4 Black 2 Camera View with Bow (H4B 2 Bow), and Smart Remote (SR). That
7
     document purports to assign copyrights in those images to GoPro, Inc. but the effective date of the
8

9    assignment is only a blank line. A copy of that document is attached as Exhibit 281.

10            15.       GoPro produced in discovery to 360Heros, Inc. a document bearing Bates No. GP
11   17346 – GP 17351, an April 4, 2016 signature claimed to be of Lee Dralle asserting that he
12
     retouched the photographic images identified as Hero4 Black 3 Camera View (H4B 3), Hero4 Black
13
     2 Camera View (H4B 2), Hero4 Black 2 Camera View with Bow (H4B 2 Bow), and Smart Remote
14
     (SR). That document purports to assign Mr. Dralle’s copyrights in those images to GoPro, Inc. A
15

16   copy of that document is attached as Exhibit 282.

17            16.       GoPro filed a copyright registration with the U.S. Copyright Office on April 4, 2016

18   claiming to register the photographic image of the Hero4 Black 2 Camera View image (H4B 2) and
19   asserted that Carter Dow and Lee Dralle were co-authors of the work who did not make the work for
20
     hire but who had assigned their copyrights to GoPro. A copy of the Registration Application for
21
     H4B 2 is attached as Exhibit 283.
22
              17.       GoPro filed a copyright registration with the U.S. Copyright Office on April 4, 2016
23

24   claiming to register the photographic image of the Smart Remote image (SR), listing Mr. Dow and

25   Mr. Dralle as co-authors who did not make the work for hire but who had already assigned their

26   copyrights to GoPro. A copy of the Registration Application for SR is attached as Exhibit 284.
27
              18.       GoPro filed a copyright registration with the U.S. Copyright Office on April 5, 2016
28

     213623_4-10798-002-10/6/17                                                      LOWE DECL IN OPP. TO MSJ
                                                        4                                – Case No. 16-cv-01944-SI
1    claiming to register the photographic image of the Hero4 Black 3 Camera View image (H4B 3),

2    listing Mr. Dow and Mr. Dralle as co-authors who did not make the work for hire but who assigned
3
     their copyrights to GoPro. A copy of the Registration Application for H4B 3 is attached as Exhibit
4
     285.
5
              19.       GoPro filed a copyright registration with the U.S. Copyright Office on April 5, 2016
6
     claiming to register the photographic image of the Hero4 Black 2 Camera View with Bow image,
7

8    listing Mr. Dow and Mr. Dralle as co-authors who did not make the work for hire but who assigned

9    their copyrights to GoPro. A copy of the registration for H4B 2 Bow is attached as Exhibit 286.
10                                Discovery Is Needed To Oppose Copyright Claim
11            20.       On August 11, 2017, 360Heros served GoPro with a Rule 30(b)(6) Deposition Notice
12
     requesting, on page 1, deposition of a witness that could speak on the “[f]actual bases and evidence
13
     supporting [GoPro’s] allegations in its COMPLAINT’S Third Claim for Copyright Infringement.”
14
     A copy of this Deposition Notice is attached as Exhibit 287.
15

16            21.       GoPro responded and objected to the Deposition Notice on August 28, 2017 in which,

17   with respect to Topic 3 on page 3, referring to the copyright infringement claim, GoPro stated that it

18   “will identify one or more witnesses to testify concerning this Topic.” A copy of these Objections to
19   30(b)(6) Notice is attached as Exhibit 288.
20
              22.       GoPro served on September 8, 2017 Amended Objections and Responses to
21
     360Heros’ Notice of Rule 30(b)(6) Deposition and continued to state, in regard to Topic 3 on page 3,
22
     that GoPro “will identify one or more witnesses to testify concerning GoPro’s copyrighted works
23

24   that are the subject of this case.” But it did not do so until September 21, six days after it filed its

25   Motion for Summary Judgment that GoPro finally identified Justin Wilkenfeld as a witness who

26   would address “Topic Nos. 1-5.” This witness, however, would only be made “available for
27
     deposition in [opposing counsel’s] office on October 17[,]” eleven days after the extended filing date
28

     213623_4-10798-002-10/6/17                                                      LOWE DECL IN OPP. TO MSJ
                                                        5                                – Case No. 16-cv-01944-SI
1    for 360Heros’ Opposition to the MSJ. A copy of GoPro’s e-mail is attached as Exhibit 367.

2                                 Declaration of Undisclosed Expert Mr. John Pratt
3             23.       GoPro’s Summary Judgment Motion filed on September 15, 2017 is significantly
4
     supported by a Declaration from John D. Pratt. Mr. Pratt has apparently “been retained by GoPro as
5
     a technical expert to assist it in this litigation.” (Dkt 91-7, ¶ 2).
6
              24.       On April 26, 2017, GoPro filed their First Amended Initial Disclosures, a copy of
7
     which is attached as Exhibit 290. GoPro listed eight people as “individuals likely to have
8

9    discoverable information that GoPro may use to support its claims and defense. Mr. Pratt is not listed

10   among these individuals, and GoPro has not filed further amendments or supplements to their Initial
11   Disclosures, nor has GoPro disclosed any expert witness.
12
              25.       The Court’s June 27, 2017 Pretrial Preparation Order [Dkt. 74:1] ordered the parties
13
     to “conform to Rule 26(a)(2).”.
14
                                                 Patent Infringement
15
              26.       Exhibit 325 is a copy of the GoPro video of the ABYSS rig produced by GoPro with
16

17   GoPro production no. GP 2555 and identified by GoPro as a document produced pursuant to Pat.

18   L.R. 3-4(a). This Exhibit is being submitted to the Court in a manual filing.

19            27.       Exhibit 356 is a copy of 360Heros’ Infringement Diagrams for the ODYSSEY rig
20   showing the accused ODYSSEY rig in photographs taken on August 22, 2017 by counsel for
21
     360Heros with annotations included on the documents.
22
              28.       Exhibit 357 is a copy of 360Heros’ ABYSS Infringement Diagrams showing the
23
     accused ABYSS rig in photographs of the ABYSS rig taken by counsel for 360Heros on August 22,
24

25   2017 with annotations included on the documents.

26            29.       Exhibit 358 is a copy of the December 2, 2016 letter from GoPro’s counsel that

27   identified the GoPro documents at GoPro Bates ranges GP 2508-2529 and GP 2555 are produced by
28

     213623_4-10798-002-10/6/17                                                      LOWE DECL IN OPP. TO MSJ
                                                          6                              – Case No. 16-cv-01944-SI
1    GoPro pursuant to Patent L.R. 3-4(a).

2             30.       Exhibit 359 is copy of a video of the 360Heros’ inspection of the accused ODYSSEY
3
     rig with 360Heros’ production no. 360H 17055 that was recorded at the August 22, 2017 inspection
4
     of the accused ODYSSEY rig by counsel for 360Heros. This Exhibit is being submitted to the Court
5
     in a manual filing.
6
              31.       Exhibit 360 is a copy of the referenced non-confidential pages from the rough
7

8    transcript of the October 3, 2017 deposition of GoPro’s Mr. Alexandre Jenny.

9             Executed under penalty of perjury at Irvine, California on this 6th day of October 2017.
10

11
                                             _______________________________________
12                                                       James A. Lowe

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     213623_4-10798-002-10/6/17                                                      LOWE DECL IN OPP. TO MSJ
                                                       7                                 – Case No. 16-cv-01944-SI
1                                        CERTIFICATE OF SERVICE
2             I hereby certify that on October 6, 2017, I electronically filed the foregoing

3    DECLARATION OF JAMES A. LOWE IN SUPPORT OF OPPOSITION TO MOTION
4    FOR SUMMARY JUDGMENT with the Clerk of the Court using the CM/ECF system which will
5    send notification of such filing via electronic mail to all counsel of record.

6

7                                                           /s/James A. Lowe
8                                                             James A. Lowe

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     213623_4-10798-002-10/6/17                                                        LOWE DECL IN OPP. TO MSJ
                                                        8                                  – Case No. 16-cv-01944-SI
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360H-00070
EXHIBIT 279
Case 3:16-cv-01944-SI Document 91-4 Filed 09/15/17 Page 1 of 70




                       EXHIBIT AA
Case 3:16-cv-01944-SI Document 91-4 Filed 09/15/17 Page 2 of 70




                                                                  360H-00058
Case 3:16-cv-01944-SI Document 91-4 Filed 09/15/17 Page 3 of 70




                                                                  360H-00059
EXHIBIT 280
                                        UNITED STATES DISTRICT COURT
                                        NORTHERN DISTRICT OF CALIFORNIA

                                                       PATENT LOCAL RULES

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USDC Patent Local Rules – Revised __, 2016                                                                                                               PAT-i
1. SCOPE OF RULES
    1-1. Title
           These are the Local Rules of Practice for Patent Cases before the United States District Court
           for the Northern District of California. They should be cited as “Patent L.R. __.”
    1-2. Scope and Construction
           These rules apply to all civil actions filed in or transferred to this Court which allege
           infringement of a utility patent in a complaint, counterclaim, cross-claim or third party claim, or
           which seek a declaratory judgment that a utility patent is not infringed, is invalid or is
           unenforceable. The Civil Local Rules of this Court shall also apply to such actions, except to
           the extent that they are inconsistent with these Patent Local Rules. If the filings or actions in a
           case do not trigger the application of these Patent Local Rules under the terms set forth herein,
           the parties shall, as soon as such circumstances become known, meet and confer for the purpose
           of agreeing on the application of these Patent Local Rules to the case and promptly report the
           results of the meet and confer to the Court.
    1-3. Modification of these Rules
           The Court may modify the obligations or deadlines set forth in these Patent Local Rules based
           on the circumstances of any particular case, including, without limitation, the simplicity or
           complexity of the case as shown by the patents, claims, products, or parties involved. Such
           modifications shall, in most cases, be made at the initial case management conference, but may
           be made at other times upon a showing of good cause. In advance of submission of any request
           for a modification, the parties shall meet and confer for purposes of reaching an agreement, if
           possible, upon any modification.
    1-4. Effective Date
           These Patent Local Rules take effect on December 1, 2009. They govern patent cases filed on
           or after that date. For actions pending prior to December 1, 2009, the provisions of the Patent
           Local Rules that were in effect on November 30, 2009, shall apply, except that the time periods
           for actions pending before December 1, 2009 shall be those set forth in and computed as in the
           Federal Rules of Civil Procedure and the Patent Local Rules that took effect on December 1,
           2009.




USDC Patent Local Rules – Revised ______, 2016                                                          PAT-1
2. GENERAL PROVISIONS
    2-1. Governing Procedure
           (a)    Notice of Pendency of Other Action Involving Same Patent.
                  (1)   When actions concerning the same patent are filed within two years of each other
                        by the same plaintiff, they will be deemed related.
                  (2)   Whenever a party knows or learns that actions concerning the same patent have
                        been filed within two years of each other by the same plaintiff, the party must
                        promptly file in each such case A Notice of Pendency of Other Action Involving
                        Same Patent.
                  (3)   Pursuant to the Assignment Plan, the Clerk will reassign the related higher-
                        numbered cases to the Judge assigned to the lowest-numbered case and will file the
                        appropriate notification on the docket of each reassigned case.
                  (4)   If the Judge determines that the reassignment is not in compliance with subsection
                        (1), the Judge may refer the matter to the Executive Committee for resolution.
                  (5)   Even if a case is not deemed related to a pending case pursuant to this rule, a party
                        may still seek a related case determination pursuant to Civil L.R. 3-12.
                  (6)   If the lowest-numbered case is assigned to a magistrate judge to whom the parties
                        have consented to preside over the action, the magistrate judge will retain that case
                        even if consent is not entered in higher-numbered cases deemed related pursuant to
                        subsection (1).

           (b)    Initial Case Management Conference. When the parties confer pursuant to Fed. R. Civ.
                  P. 26(f), in addition to the matters covered by Fed. R. Civ. P. 26, the parties shall discuss
                  and address in the Case Management Statement filed pursuant to Fed. R. Civ. P. 26(f)
                  and Civil L.R. 16-9, the following topics:
                  (1)   Proposed modification of the obligations or deadlines set forth in these Patent
                        Local Rules to ensure that they are suitable for the circumstances of the particular
                        case (see Patent L.R. 1-3);
                  (2)   The scope and timing of any claim construction discovery ( including disclosure of
                        and discovery from any expert witness permitted by the court) and damages
                        discovery;
                  (3)   The format of the Claim Construction Hearing, including whether the Court will
                        hear live testimony, the order of presentation, and the estimated length of the
                        hearing; and
                  (4)   How the parties intend to educate the court on the technology at issue.
                  (4)(5) The parties shall provide the court with a non-binding, good-faith estimate of the
                         damages range expected for the case along with an explanation for the estimates. If
                         either party is unable to provide such information, that party shall explain why it
                         cannot and what specific information is needed before it can do so. Such party shall
                         also state the time by which it should be in a position to provide that estimate and
                         explanation.
    2-2. Confidentiality
           Discovery cannot be withheld on the basis of confidentiality absent Court order. The Protective
           Order authorized by the Northern District of California shall govern discovery unless the Court
           enters a different protective order. The approved Protective Order can be found on the Court’s
           website.

USDC Patent Local Rules – Revised ______, 2016                                                           PAT-2
    2-3. Certification of Disclosures
           All statements, disclosures, or charts filed or served in accordance with these Patent Local
           Rules shall be dated and signed by counsel of record. Counsel’s signature shall constitute a
           certification that to the best of his or her knowledge, information, and belief, formed after an
           inquiry that is reasonable under the circumstances, the information contained in the statement,
           disclosure, or chart is complete and correct at the time it is made.
    2-4. Admissibility of Disclosures
           Statements, disclosures, or charts governed by these Patent Local Rules are admissible to the
           extent permitted by the Federal Rules of Evidence or Procedure. However, the statements and
           disclosures provided for in Patent L.R. 4-1 and 4-2 are not admissible for any purpose other
           than in connection with motions seeking an extension or modification of the time periods
           within which actions contemplated by these Patent Local Rules shall be taken.
    2-5. Relationship to Federal Rules of Civil Procedure
           Except as provided in this paragraph or as otherwise ordered, it shall not be a ground for
           objecting to an opposing party’s discovery request (e.g., interrogatory, document request,
           request for admission, deposition question) or declining to provide information otherwise
           required to be disclosed pursuant to Fed. R. Civ. P. 26(a)(1) that the discovery request or
           disclosure requirement is premature in light of, or otherwise conflicts with, these Patent Local
           Rules, absent other legitimate objection. A party may object, however, to responding to the
           following categories of discovery requests (or decline to provide information in its initial
           disclosures under Fed. R. Civ. P. 26(a)(1)) on the ground that they are premature in light of the
           timetable provided in the Patent Local Rules:
           (a)    Requests seeking to elicit a party’s claim construction or damages positions;
           (b)    Requests seeking to elicit from the patent claimant a comparison of the asserted claims
                  and the accused apparatus, product, device, process, method, act, or other
                  instrumentality;
           (c)    Requests seeking to elicit from an accused infringer a comparison of the asserted claims
                  and the prior art; and
           (d)    Requests seeking to elicit from an accused infringer the identification of any advice of
                  counsel, and related documents.
           Where a party properly objects to a discovery request (or declines to provide information in its
           initial disclosures under Fed. R. Civ. P. 26(a)(1)) as set forth above, that party shall provide the
           requested information on the date on which it is required to be provided to an opposing party
           under these Patent Local Rules or as set by the Court, unless there exists another legitimate
           ground for objection.




USDC Patent Local Rules – Revised ______, 2016                                                            PAT-3
3. PATENT DISCLOSURES
    3-1. Disclosure of Asserted Claims and Infringement Contentions
           Not later than 14 days after the Initial Case Management Conference, a party claiming patent
           infringement shall serve on all parties a “Disclosure of Asserted Claims and Infringement
           Contentions.” Separately for each opposing party, the “Disclosure of Asserted Claims and
           Infringement Contentions” shall contain the following information:
           (a)    Each claim of each patent in suit that is allegedly infringed by each opposing party,
                  including for each claim the applicable statutory subsections of 35 U.S.C. §271 asserted;
           (b)    Separately for each asserted claim, each accused apparatus, product, device, process,
                  method, act, or other instrumentality (“Accused Instrumentality”) of each opposing party
                  of which the party is aware. This identification shall be as specific as possible. Each
                  product, device, and apparatus shall be identified by name or model number, if known.
                  Each method or process shall be identified by name, if known, or by any product, device,
                  or apparatus which, when used, allegedly results in the practice of the claimed method or
                  process;
           (c)    A chart identifying specifically where and how each limitation of each asserted claim is
                  found within each Accused Instrumentality, including for each limitation that such party
                  contends is governed by 35 U.S.C. § 112(6), the identity of the structure(s), act(s), or
                  material(s) in the Accused Instrumentality that performs the claimed function.
           (d)    For each claim which is alleged to have been indirectly infringed, an identification of any
                  direct infringement and a description of the acts of the alleged indirect infringer that
                  contribute to or are inducing that direct infringement. Insofar as alleged direct
                  infringement is based on joint acts of multiple parties, the role of each such party in the
                  direct infringement must be described.
           (e)    Whether each limitation of each asserted claim is alleged to be literally present or present
                  under the doctrine of equivalents in the Accused Instrumentality;
           (f)    For any patent that claims priority to an earlier application, the priority date to which
                  each asserted claim allegedly is entitled; and
           (g)    If a party claiming patent infringement wishes to preserve the right to rely, for any
                  purpose, on the assertion that its own or its licensee’s apparatus, product, device, process,
                  method, act, or other instrumentality practices the claimed invention, the party shall
                  identify, separately for each asserted claim, each such apparatus, product, device,
                  process, method, act, or other instrumentality that incorporates or reflects that particular
                  claim.
           (h)    Identify the timing of the point of first infringement, the start of claimed damages, and
                  the end of claimed damages; and
           (h)(i) If a party claiming patent infringement alleges willful infringement, the basis for such
                  allegation.
    3-2. Document Production Accompanying Disclosure
           With the “Disclosure of Asserted Claims and Infringement Contentions,” the party claiming
           patent infringement shall produce to each opposing party or make available for inspection and
           copying:
           (a)    Documents (e.g., contracts, purchase orders, invoices, advertisements, marketing
                  materials, offer letters, beta site testing agreements, and third party or joint development
                  agreements) sufficient to evidence each discussion with, disclosure to, or other manner of
                  providing to a third party, or sale of or offer to sell, or any public use of, the claimed
                  invention prior to the date of application for the patent in suit. A party’s production of a

USDC Patent Local Rules – Revised ______, 2016                                                            PAT-4
                  document as required herein shall not constitute an admission that such document
                  evidences or is prior art under 35 U.S.C. § 102;
           (b)    All documents evidencing the conception, reduction to practice, design, and development
                  of each claimed invention, which were created on or before the date of application for the
                  patent in suit or the priority date identified pursuant to Patent L.R. 3-1(f), whichever is
                  earlier;
           (c)    A copy of the file history for each patent in suit; and
           (d)    All documents evidencing ownership of the patent rights by the party asserting patent
                  infringement.;
           (e)    If a party identifies instrumentalities pursuant to Patent L.R. 3-1(g), documents sufficient
                  to show the operation of any aspects or elements of such instrumentalities the patent
                  claimant relies upon as embodying any asserted claims. ;
           (f)    All agreements, including licenses, transferring an interest in any patent-in-suit.;
           (g)    All agreements that the party asserting infringement contends are comparable to a license
                  that would result from a hypothetical reasonable royalty negotiation.;
           (h)    All agreements that otherwise may be used to support the party asserting infringement’s
                  damages case.;
           (i)    If a party identifies instrumentalities pursuant to Patent L.R. 3-1(g), documents sufficient
                  to show marking of such embodying accused instrumentalities and if it wants to preserve
                  the right to recover lost profits based on such products, sales, revenues, costs and profits
                  of such embodying accused instrumentalities."; and
           (j)    All documents comprising or reflecting a F/RAND commitment or agreement with
                  respect to the asserted patent(s).
                  The producing party shall separately identify by production number which documents
                  correspond to each category.
    3-3. Invalidity Contentions
           Not later than 45 days after service upon it of the “Disclosure of Asserted Claims and
           Infringement Contentions,” each party opposing a claim of patent infringement, shall serve on
           all parties its “Invalidity Contentions” which shall contain the following information:
           (a)    The identity of each item of prior art that allegedly anticipates each asserted claim or
                  renders it obvious. Each prior art patent shall be identified by its number, country of
                  origin, and date of issue. Each prior art publication shall be identified by its title, date of
                  publication, and where feasible, author and publisher. Each alleged sale or public
                  usePrior art under 35 U.S.C. § 102(b) shall be identified by specifying the item offered
                  for sale or publicly used or known, the date the offer or use took place or the information
                  became known, and the identity of the person or entity which made the use or which
                  made and received the offer, or the person or entity which made the information known
                  or to whom it was made known. For pre-AIA claims, Prior prior art under 35 U.S.C. §
                  102(f) shall be identified by providing the name of the person(s) from whom and the
                  circumstances under which the invention or any part of it was derived. For pre-AIA
                  claims, Prior prior art under 35 U.S.C. § 102(g) shall be identified by providing the
                  identities of the person(s) or entities involved in and the circumstances surrounding the
                  making of the invention before the patent applicant(s);
           (b)    Whether each item of prior art anticipates each asserted claim or renders it obvious. If
                  obviousness is alleged, an explanation of why the prior art renders the asserted claim
                  obvious, including an identification of any combinations of prior art showing
                  obviousness;

USDC Patent Local Rules – Revised ______, 2016                                                              PAT-5
           (c)    A chart identifying specifically where and how specifically in each alleged item of prior
                  art each limitation of each asserted claim is found, including for each limitation that such
                  party contends is governed by 35 U.S.C. § 112(6), the identity of the structure(s), act(s),
                  or material(s) in each item of prior art that performs the claimed function; and
           (d)    Any grounds of invalidity based on 35 U.S.C. § 101, indefiniteness under 35 U.S.C. §
                  112(2) or enablement or written description under 35 U.S.C. § 112(1) of any of the
                  asserted claims.
    3-4. Document Production Accompanying Invalidity Contentions
           With the “Invalidity Contentions,” the party opposing a claim of patent infringement shall
           produce or make available for inspection and copying:
           (a)    Source code, specifications, schematics, flow charts, artwork, formulas, or other
                  documentation sufficient to show the operation of any aspects or elements of an Accused
                  Instrumentality identified by the patent claimant in its Patent L.R. 3-1(c) chart; and
           (b)    A copy or sample of the prior art identified pursuant to Patent L.R. 3-3(a) which does not
                  appear in the file history of the patent(s) at issue. To the extent any such item is not in
                  English, an English translation of the portion(s) relied upon shall be produced.;
           (c)    All agreements that the party opposing infringement contends are comparable to a license
                  that would result from a hypothetical reasonable royalty negotiation.;
           (d)    Documents sufficient to show the sales, revenue, cost, and profits for accused
                  instrumentalities identified pursuant to Patent L.R. 3-1(b) for any period of alleged
                  infringement; and
           (b)(e) All agreements that may be used to support the party denying infringement’s damages
                  case.
           The producing party shall separately identify by production number which documents
           correspond to each category.
    3-5. Disclosure Requirement in Patent Cases for Declaratory Judgment of Invalidity
           (a)    Invalidity Contentions If No Claim of Infringement. In all cases in which a party files
                  a complaint or other pleading seeking a declaratory judgment that a patent is invalid
                  Patent L.R. 3-1 and 3-2 shall not apply unless and until a claim for patent infringement is
                  made by a party. If the defendant does not assert a claim for patent infringement in its
                  answer to the complaint, no later than 14 days after the defendant serves its answer, or 14
                  days after the Initial Case Management Conference, whichever is later, the party seeking
                  a declaratory judgment of invalidity shall serve upon each opposing party its Invalidity
                  Contentions that conform to Patent L.R. 3-3 and produce or make available for inspection
                  and copying the documents described in Patent L.R. 3-4.
           (b)    Inapplicability of Rule. This Patent L.R. 3-5 shall not apply to cases in which a request
                  for a declaratory judgment that a patent is invalid is filed in response to a complaint for
                  infringement of the same patent.
    3-6. Amendment to Contentions
           Amendment of the Infringement Contentions or the Invalidity Contentions may be made only
           by order of the Court upon a timely showing of good cause. Non-exhaustive examples of
           circumstances that may, absent undue prejudice to the non-moving party, support a finding of
           good cause include:
           (a)    A claim construction by the Court different from that proposed by the party seeking
                  amendment;
           (b)    Recent discovery of material, prior art despite earlier diligent search; and

USDC Patent Local Rules – Revised ______, 2016                                                            PAT-6
           (c)      Recent discovery of nonpublic information about the Accused Instrumentality which was
                    not discovered, despite diligent efforts, before the service of the Infringement
                    Contentions.
           The duty to supplement discovery responses does not excuse the need to obtain leave of court
           to amend contentions.
    3-7. Advice of Counsel
           Not later than 350 days after service by the Court of its Claim Construction Ruling, each party
           relying upon advice of counsel as part of a patent-related claim or defense for any reason shall:
           (a)      Produce or make available for inspection and copying any written advice and documents
                    related thereto for which the attorney-client and work product protection have been
                    waived;
           (b)      Provide a written summary of any oral advice and produce or make available for
                    inspection and copying that summary and documents related thereto for which the
                    attorney-client and work product protection have been waived; and
           (c)      Serve a privilege log identifying any other documents, except those authored by counsel
                    acting solely as trial counsel, relating to the subject matter of the advice which the party
                    is withholding on the grounds of attorney-client privilege or work product protection.
         A party who does not comply with the requirements of this Patent L.R. 3-7 shall not be permitted
         to rely on advice of counsel for any purpose absent a stipulation of all parties or by order of the
         Court.
    3-8. Damages Contentions
           Not later than 50 days after service of the Invalidity Contentions, each party asserting
           infringement shall:
          (a) Identify each of the category(-ies) of damages it is seeking for the asserted infringement, as
              well as specifics regarding its theories of recovery, factual support for those theories, and
              computations of damages within each category, including:
             1. lost profits;
             2. price erosion;
             3. convoyed or collateral sales;
             4. reasonable royalty; and
             5. any other form of damages
                 Identify:
                    the timing of the point of first infringement;
                    the timing of the start of claimed damages;
             1. the timing of the end of claimed damages; and
          (b) To the extent a party contends it is unable to provide a fulsome response to the disclosures
              required by this rule, it shall identify the information it requires.
    3-9. Responsive Damages Contentions
                 Not later than 30 days after service of the Damages Contentions served pursuant to Patent
                 L.R. 3-8, each party denying infringement shall identify specifically how and why it
                 disagrees with those contentions. This should include the party’s affirmative position on
                 each issue. To the extent a party contends it is unable to provide a fulsome response to the
                 disclosures required by this rule, it shall identify the information it requires.

USDC Patent Local Rules – Revised ______, 2016                                                             PAT-7
4. CLAIM CONSTRUCTION PROCEEDINGS
    4-1. Exchange of Proposed Terms for Construction
           (a)    Not later than 14 days after service of the “Invalidity Contentions” pursuant to Patent
                  L.R. 3-3, not later than 42 days after service upon it of the “Disclosure of Asserted
                  Claims and Infringement Contentions” in those actions where validity is not at issue (and
                  Patent L.R. 3-3 does not apply), or, in all cases in which a party files a complaint or other
                  pleading seeking a declaratory judgment not based on validity, not later than 14 days
                  after the defendant serves an answer that does not assert a claim for patent infringement
                  (and Patent L.R. 3-1 does not apply), each party shall serve on each other party a list of
                  claim terms which that party contends should be construed by the Court, and identify any
                  claim term which that party contends should be governed by 35 U.S.C. § 112(6).
           (b)    The parties shall thereafter meet and confer for the purposes of limiting the terms in
                  dispute by narrowing or resolving differences and facilitating the ultimate preparation of
                  a Joint Claim Construction and Prehearing Statement. The parties shall also jointly
                  identify the 10 terms likely to be most significant to resolving the parties’ dispute,
                  including those terms for which construction may be case or claim dispositive.
    4-2. Exchange of Preliminary Claim Constructions and Extrinsic Evidence
           (a)    Not later than 21 days after the exchange of the lists pursuant to Patent L.R. 4-1, the
                  parties shall simultaneously exchange proposed constructions of each term identified by
                  either party for claim construction. Each such “Preliminary Claim Construction” shall
                  also, for each term which any party contends is governed by 35 U.S.C. § 112(6), identify
                  the structure(s), act(s), or material(s) corresponding to that term’s function.
           (b)    At the same time the parties exchange their respective “Preliminary Claim
                  Constructions,” each party shall also identify all references from the specification or
                  prosecution history that support its proposed construction and designate any supporting
                  extrinsic evidence including, without limitation, dictionary definitions, citations to
                  learned treatises and prior art, and testimony of percipient and expert witnesses. Extrinsic
                  evidence shall be identified by production number or by producing a copy if not
                  previously produced. With respect to any supporting witness, percipient or expert, the
                  identifying party shall also provide a description of the substance of that witness’
                  proposed testimony that includes a listing of any opinions to be rendered in connection
                  with claim construction.
           (c)    The parties shall thereafter meet and confer for the purposes of narrowing the issues and
                  finalizing preparation of a Joint Claim Construction and Prehearing Statement.
    4-3. Joint Claim Construction and Prehearing Statement
           Not later than 60 days after service of the “Invalidity Contentions,” the parties shall complete
           and file a Joint Claim Construction and Prehearing Statement, which shall contain the following
           information:
           (a)    The construction of those terms on which the parties agree;
           (b)    Each party’s proposed construction of each disputed term, together with an identification
                  of all references from the specification or prosecution history that support that
                  construction, and an identification of any extrinsic evidence known to the party on which
                  it intends to rely either to support its proposed construction or to oppose any other party’s
                  proposed construction, including, but not limited to, as permitted by law, dictionary
                  definitions, citations to learned treatises and prior art, and testimony of percipient and
                  expert witnesses;



USDC Patent Local Rules – Revised ______, 2016                                                           PAT-8
           (c)    An identification of the terms whose construction will be most significant to the
                  resolution of the case up to a maximum of 10. The parties shall also identify any term
                  among the 10 whose construction will be case or claim dispositive. If the parties cannot
                  agree on the 10 most significant terms, the parties shall identify the ones which they do
                  agree are most significant and then they may evenly divide the remainder with each party
                  identifying what it believes are the remaining most significant terms. However, the total
                  terms identified by all parties as most significant cannot exceed 10. For example, in a
                  case involving two parties, if the parties agree upon the identification of five terms as
                  most significant, each may only identify two additional terms as most significant; if the
                  parties agree upon eight such terms, each party may only identify only one additional
                  term as most significant.
           (d)    The anticipated length of time necessary for the Claim Construction Hearing;
                  Whether any party proposes to call one or more witnesses at the Claim Construction
                  Hearing, the identity of each such witness, and for each witness, a summary of his or her
                  testimony including, for any expert, each opinion to be offered related to claim
                  construction.
           (e)    Whether any party proposes to call one or more witnesses at the Claim Construction
                  Hearing, the identity of each such witness, and for each witness, a summary of his or her
                  testimony including, for any expert, each opinion to be offered related to claim
                  construction.
           (e)(f) An identification of any factual findings requested from the Court related to claim
                  construction.
    4-4. Completion of Claim Construction Discovery
           Not later than 30 days after service and filing of the Joint Claim Construction and Prehearing
           Statement, the parties shall complete all discovery relating to claim construction, including any
           depositions with respect to claim construction of any witnesses, including experts, identified in
           the Preliminary Claim Construction statement (Patent L.R. 4-2) or Joint Claim Construction
           and Prehearing Statement (Patent L.R. 4-3).
    4-5. Claim Construction Briefs
           (a)    Not later than 45 days after serving and filing the Joint Claim Construction and
                  Prehearing Statement, the party claiming patent infringement, or the party asserting
                  invalidity if there is no infringement issue present in the case, shall serve and file an
                  opening brief and any evidence supporting its claim construction.
           (b)    Not later than 14 days after service upon it of an opening brief, each opposing party shall
                  serve and file its responsive brief and supporting evidence.
           (c)    Not later than 7 days after service upon it of a responsive brief, the party claiming patent
                  infringement, or the party asserting invalidity if there is no infringement issue present in
                  the case, shall serve and file any reply brief and any evidence directly rebutting the
                  supporting evidence contained in an opposing party’s response.
    4-6. Claim Construction Hearing
           Subject to the convenience of the Court’s calendar, two weeks following submission of the
           reply brief specified in Patent L.R. 4-5(c), the Court shall conduct a Claim Construction
           Hearing, to the extent the parties or the Court believe a hearing is necessary for construction of
           the claims at issue.
    4-7. Good Faith Participation
           A failure to make a good faith effort to narrow the instances of disputed terms or otherwise
           participate in the meet and confer process of any of the provisions of section 4 may expose
           counsel to sanctions, including under 28 U.S.C. § 1927.

USDC Patent Local Rules – Revised ______, 2016                                                                PAT-9
EXHIBIT 281
                                    COPYRIGHT ASSIGNMENT AND LICENSE

              This copyright assignment and license ("Assignment") is effective as of
       _ _ _ _ _ _ _ _ _ ("Effective Date") by and between Go Pro, Inc. ("GoPro"), a Delaware
       corporation with a primary place of business in San Mateo, California, on the one hand. and
       Carter Dow, a resident of San Francisco, on the other hand.

              WHEREAS GoPro and Carter Dow have contractually agreed that Carter Dow would provide
       photography services ('"Services") to GoPro on an "as needed" basis and as part of that agreement,
       Carter Dow jointly created the works shown in Exhibit A-D ("Works") and was compensated in
       accordance with his invoice(s) for the Services; and

               WHEREAS Carter Dow owns rights in the joint Works, and corresponding rights in the
       intellectual property rights therein;

              NOW THEREFORE, for good and valuable consideration, the receipt and adequacy of which is
       hereby acknowledged, Carter Dow hereby grants, transfers and assigns to GoPro, its successors and
       assigns, the entirety of his interest in the rights, title and interest in and to the Works, including his
       interest in the rights to all derivative works created from the Works, the Copyrights and the
       Registrations and Applications in the Work and derivative works, and his interest in all intellectual
       property rights therein including, without limitation, all corresponding rights incidental, subsidiary,
       ancillary or allied thereto, and all corresponding renewals and extensions thereof; regardless of whether
       such rights arise under the law of the United States or any other state, country or jurisdiction.

              GoPro hereby grants to Carter Dow a non-exclusive, irrevocable, royalty free license to copy,
       display and/or otherwise use copies of the Works for the sole purpose of promoting his services, on his
       website and in other Carter Dow marketing materials, now or hereafter known.




       By:    Eve Sal
       Title: Deputy General Counsel, GoPro, Inc.
       Date:   414 \  /}-01 (o




CONFIDENTIAL                                                                                        GP (360) 00017352
CONFIDENTIAL   GP (360) 00017353
CONFIDENTIAL   GP (360) 00017354
               HER04




CONFIDENTIAL           GP (360) 00017355
CONFIDENTIAL   GP (360) 00017356
EXHIBIT 282
                                             COPYRIGHT ASSIGNMENT

               This copyright assignment ("Assignment") is effective as of     4/5/16
        ("Effective Date") by and between GoPro, Inc. ("GoPro"), a Delaware corporation with a
        primary place of business in San Mateo, California, on the one hand, and Lee Dralle, a resident
        of CA , on the other hand.

               WHEREAS GoPro and Lee Dralle have contractually agreed that Lee Dralle would provide
        photography retouching services ("Services") to GoPro on an "as needed" basis and as part of that
        agreement, Lee Dralle jointly created the works shown in Exhibit A-D ("Works") and was compensated
        in accordance with his invoice(s) for the Services; and

              WHEREAS Lee Dralle owns rights in the joint Works and corresponding rights in the intellectual
        property rights therein;

               NOW THEREFORE, for good and valuable consideration, the receipt and adequacy of which is
        hereby acknowledged, Lee Dralle hereby grants, transfers and assigns to GoPro, its successors and
        assigns, the entirety of his interest in the rights, title and interest in and to the Works, including his
        interest in the rights to all derivative works created from the Works, the Copyrights and the
        Registrations and Applications in the Works and derivative Works, and his interest in all intellectual
        property rights therein including, without limitation, all corresponding rights incidental, subsidiary,
        ancillary or allied thereto, and all corresponding renewals and extensions thereof, regardless of whether
        such rights arise under the law of the United States or any other state, country or jurisdiction.

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                               /_,.-.\



                ,__/   n                 1
                rL/~~/

        By:                Lee Dralle
        Date:              4/5/16




CONFIDENTIAL                                                                                        GP (360) 00017346
                      EXHIBIT A




        68340215V.l




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CONFIDENTIAL                      GP (360) 00017347
CONFIDENTIAL   GP (360) 00017348
CONFIDENTIAL   GP (360) 00017349
               HER04




CONFIDENTIAL           GP (360) 00017350
CONFIDENTIAL   GP (360) 00017351
EXHIBIT 283
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                         EXHIBIT M
           Case 3:16-cv-01944-SI Document 91-2 Filed 09/15/17 Page 37 of 48

                      Registration #:   *-APPLICATION-*
                   Service Request#:    1-3271954327




Mail Certificate


Kilpatrick Townsend & Stockton LLP
Tali Alban
2 Embarcadero Center
8th Floor
San Francisco, CA 94111




                            Priority:   Special Handling       Application Date:   April 04, 2016


Correspondent



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                                        San Francisco, CA 94111




                                                                                                    GP (360) 00017343
         Case 3:16-cv-01944-SI Document 91-2 Filed 09/15/17 Page 38 of 48




                                                                           Registration Number
                                                                           *-APPLICATION-*



Title
                      Title of Work:   HER04 Black- Two Camera View


Com pletion/Pu bl ication
             Year of Completion:       2014
          Date of 1st Publication:     September 29, 2014
         Nation of t•t Publication:    United States

Author

                 oo    Author:         Carter Dow
               Author Created:         photograph
             Work made for hire:       No
                  Domiciled in:        United States

                 oo     Author:        Lee Dralle
               Authot· Created:        Photograph Retouching
             Work made fot· hire:      No
                  Domiciled in:        United States

Copyright Claimant

             Copyright Claimant:       GoPro, Inc.
                                       3000 Clearview Way, San Mateo, CA, 94402
                Transfer statement:    By written agreement




 Rights and Permissions - - - - - - - - - - - - - - - - - - - - - -
             Organization Name:        GoPro, Inc.
                                       Copyrights
                             Email:    copyright@gopro .com
                            Address:   3000 Clearview Way
                                       San Mateo, CA 94402

Certification

                                                                                                  Page 1 of2




                                                                                                 GP (360) 00017344
     Case 3:16-cv-01944-SI Document 91-2 Filed 09/15/17 Page 39 of 48




                      Narne:   Tali Alban
                       Date:   April 04,2016
Applicant's Tracking Number:   097995-0944599




                                                                         Page 2 of2



                                                                        GP (360) 00017345
               Case 3:16-cv-01944-SI Document 91-2 Filed 09/15/17 Page 40 of 48
Message
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EXHIBIT 284
Case 3:16-cv-01944-SI Document 91-2 Filed 09/15/17 Page 42 of 48




                         EXHIBIT N
           Case 3:16-cv-01944-SI Document 91-2 Filed 09/15/17 Page 43 of 48

                      Registration #:   *-APPLICATION-*
                   Service Request#:    1-3271903101




Mail Certificate


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8th Floor
San Francisco, CA 94111




                            Priority:   Special Handling       Application Date:   April 04, 2016


Correspondent



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                                        8th Floor
                                        San Francisco, CA 94111




                                                                                                    GP (360) 00017337
         Case 3:16-cv-01944-SI Document 91-2 Filed 09/15/17 Page 44 of 48




                                                                           Registration Number
                                                                           *-APPLICATION-*



Title
                      Title of Work:   Smart Remote


Com pletion/Pu bl ication
             Year of Completion:       2014
          Date of 1st Publication:     September 29, 2014
         Nation of t•t Publication:    United States

Author

                 oo    Author:         Carter Dow
               Author Created:         photograph
             Work made for hire:       No
                  Domiciled in:        United States

                 oo     Author:        Lee Dralle
               Authot· Created:        Photograph Retouching
             Work made fot· hire:      No
                  Domiciled in:        United States

Copyright Claimant

             Copyright Claimant:       GoPro, Inc.
                                       3000 Clearview Way, San Mateo, CA, 94402
                Transfer statement:    By written agreement




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             Organization Name:        GoPro, Inc.
                                       Copyrights
                             Email:    copyright@gopro .com
                            Address:   3000 Clearview Way
                                       San Mateo, CA 94402

Certification

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                                                                                                 GP (360) 00017338
     Case 3:16-cv-01944-SI Document 91-2 Filed 09/15/17 Page 45 of 48




                      Narne:   Tali Alban
                       Date:   April 04,2016
Applicant's Tracking Number:   097955-0944599




                                                                         Page 2 of2



                                                                        GP (360) 00017339
               Case 3:16-cv-01944-SI Document 91-2 Filed 09/15/17 Page 46 of 48
Message
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Case 3:16-cv-01944-SI Document 91-2 Filed 09/15/17 Page 47 of 48
EXHIBIT 285
Case 3:16-cv-01944-SI Document 91-2 Filed 09/15/17 Page 30 of 48




                         EXHIBIT L
           Case 3:16-cv-01944-SI Document 91-2 Filed 09/15/17 Page 31 of 48

                      Registration #:   *-APPLICATION-*
                   Service Request#:    1-3271993161




Mail Certificate


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San Francisco, CA 94111




                            Priority:   Special Handling         Application Date:   April 05, 2016


Correspondent



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                              Email:    tlalban@kilpatricktownsend. com
                         Telephone:     (415)57 6-0200
                            Address:    2 Embarcadero Center
                                        8th Floor
                                        San Francisco, CA 94111




                                                                                                      GP (360) 00017340
         Case 3:16-cv-01944-SI Document 91-2 Filed 09/15/17 Page 32 of 48




                                                                           Registration Number
                                                                           *-APPLICATION-*



Title
                      Title of Work:   HER04 Black- Three Camera View


Com pletion/Pu bl ication
             Year of Completion:       2014
          Date of 1st Publication:     September 29, 2014
         Nation of t•t Publication:    United States

Author

                 oo    Author:         Carter Dow
               Author Created:         photograph
             Work made for hire:       No
                  Domiciled in:        United States

                 oo     Author:        Lee Dralle
               Authot· Created:        Photograph Retouching
             Work made fot· hire:      No
                  Domiciled in:        United States

Copyright Claimant

             Copyright Claimant:       GoPro, Inc.
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                Transfer statement:    By written agreement




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                                       Copyrights
                             Email:    copyright@gopro .com
                            Address:   3000 Clearview Way
                                       San Mateo, CA 94402

Certification

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                                                                                                 GP (360) 00017341
     Case 3:16-cv-01944-SI Document 91-2 Filed 09/15/17 Page 33 of 48




                      Narne:   Tali Alban
                       Date:   April 05,2016
Applicant's Tracking Number:   097955. 0944599




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                                                                        GP (360) 00017342
               Case 3:16-cv-01944-SI Document 91-2 Filed 09/15/17 Page 34 of 48
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Sent:       4/5/2016 4:20:55 AM
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                                                                                           GP (360) 00017332
Case 3:16-cv-01944-SI Document 91-2 Filed 09/15/17 Page 35 of 48
EXHIBIT 286
Case 3:16-cv-01944-SI Document 91-2 Filed 09/15/17 Page 24 of 48




                         EXHIBIT K
           Case 3:16-cv-01944-SI Document 91-2 Filed 09/15/17 Page 25 of 48

                      Registration #:   *-APPLICATION-*
                   Service Request#:    1-3272180207




Mail Certificate


Kilpatrick Townsend & Stockton LLP
Tali Alban
2 Embarcadero Center
8th Floor
San Francisco, CA 94111




                            Priority:   Special Handling       Application Date:   April 05, 2016


Correspondent



                 Organization Name:     Kilpatrick Townsend & StocktonLLP
                              Narne:    Tali Alban
                              Email:    tlalban@kiltown.com
                            Address:    2 Embarcadero Center
                                        8th Floor
                                        San Francisco, CA 94111




                                                                                                    GP (360) 00017334
         Case 3:16-cv-01944-SI Document 91-2 Filed 09/15/17 Page 26 of 48




                                                                           Registration Number
                                                                           *-APPLICATION-*



Title
                      Title of Work:   HER04 Black Two Camera View -With Bow


Com pletion/Pu bl ication
             Year of Completion:       2014
          Date of 1st Publication:     September 29, 2014
         Nation of t•t Publication:    United States

Author

                 oo    Author:         Carter Dow
               Author Created:         photograph
             Work made for hire:       No
                  Domiciled in:        United States

                 oo     Author:        Lee Dralle
               Authot· Created:        Photograph retouching
             Work made fot· hire:      No
                  Domiciled in:        United States

Copyright Claimant

             Copyright Claimant:       GoPro, Inc.
                                       3000 Clearview Way, San Mateo, CA, 94402
                Transfer statement:    By written agreement




 Rights and Permissions - - - - - - - - - - - - - - - - - - - - - -
             Organization Name:        GoPro, Inc.
                                       Copyrights
                             Email:    copyright@gopro .com
                            Address:   3000 Clearview Way
                                       San Mateo, CA 94402

Certification

                                                                                                  Page 1 of2




                                                                                                 GP (360) 00017335
     Case 3:16-cv-01944-SI Document 91-2 Filed 09/15/17 Page 27 of 48




                      Narne:   Tali Alban
                       Date:   April 05,2016
Applicant's Tracking Number:   097955-0944599




                                                                         Page 2 of2



                                                                        GP (360) 00017336
               Case 3:16-cv-01944-SI Document 91-2 Filed 09/15/17 Page 28 of 48
Message
From:       Copyright Office [cop-rc@loc.gov]
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United States Copyright Office




                                                                                           GP (360) 00017333
Case 3:16-cv-01944-SI Document 91-2 Filed 09/15/17 Page 29 of 48
EXHIBIT 287
 1   GAUNTLETT & ASSOCIATES
     David A. Gauntlett (SBN 96399)
 2   James A. Lowe (SBN 214383)
     18400 Von Karman, Suite 300
     Irvine, California 92612
     Telephone:      (949) 553-1010
 4   Facsimile:      (949) 553-2050
     info ~gauntlettlaw.com
 5   jal(~gaunt1ettlaw.corn

 6   Attorneys for Defendant
     36OHeros, Inc.

 8
 9
                                             UNITED STATES DISTRICT COURT
10
                                 FOR THE NORTHERN DISTRICT OF CALIFORNIA
11

12
     GOPRO, INC., a Delaware corporation,               )   Case No.: 16-cv-01944-SI
13                                                      )
                                   Plaintiff,           )   Honorable Susan Illston
14                                                      )
                                                        )   DEFENDANT 36OHEROS, INC.’S
15                .                                     )   NOTICE OF RULE 30(b)(6) DEPOSITION
                                                            TO PLAINTIFF GOPRO, INC.
     36OHEROS, INC., a Delaware corporation,            )
17                                                      )
18                                 Defendant.
                                                        )
19   _____________________________________
20

21

22

23
24

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27
28

     209703_I .doc-10798-002-8/1 1/2017 3:53 PM                                       Def’s Notice of 30(b)(6) Deposition
                                                                                             — Case No. 16-cv-O 1944-SI
 1             PLEASE TAKE NOTICE that Defendant 36OHeros, Inc., through its counsel, will take the

 2   deposition upon oral examination of Plaintiff GoPro, Inc. pursuant to F.R.Civ.P. 30 on August 30,

 3   2017 commencing at 9:30 a.m. at 201 California St., Suite 375, San Francisco, CA.
 4             The testimony of the deponent will be recorded by stenographic means before an officer

 5   authorized to administer oaths. Defendant reserves the right to record the proceedings by means of
 6   videotape in accordance with F.R.Civ.P. 30.

 7             Pursuant to F.R.Civ.P. 30(b)(6) Plaintiff shall designate one or more officers, directors, or

 8   managing agents, or other persons who consent to testify on its behalf on the matters set forth herein

 9   and for each person designated, the matters on which the person will testify:
10
11                                                     DEFINITIONS

12             A.        COMPLAINT means the complaint filed in this Action on or about April 13, 2016.

13

14                                 TOPICS ON WHICH EXAMINATION IS REQUESTED

15             1.        Factual bases and evidence supporting Plaintiffs allegations in its. COMPLAINT’S
16   First Claim for Federal Trademark Infringement.

17             2.        Factual bases and evidence supporting Plaintiffs allegations in its COMPLAINT’S

18   Second Claim for Federal Unfair Competition.

19             3.        Factual bases and evidence supporting Plaintiffs allegations in its COMPLAINT’S

20   Third Claim for Copyright Infringement.
21             4.        Factual bases and evidence supporting Plaintiffs allegations in its COMPLAINT’S

22   Fourth Claim for California Unfair Competition.

23             5.        Factual bases and evidence supporting Plaintiffs allegations in its COMPLAINT’S
24   Fifth Claim for California Common Law Trademark Infringement.

25             6.        Factual bases and evidence supporting Plaintiffs allegations in its Plaintiffs
26   COMPLAINT’S Sixth Claim for a Declaratory Judgment of Non-infringement of U.S. Patent No.
27   9,152,019.
28             7.        Plaintiffs relationship with Defendant 36OHeros, Inc. or its principal Michael Kintner

     209703 I.doc-10798-002-8/l 1/2017 3:53 PM                                         Def’s Notice of 30(b)(6) Deposition
                                                           1                                  —Case No. 16-cv-01944-S1
 1   during the events alleged in support of Plaintiffs allegations in its claims for relief in the
 2   COMPLAINT.

 3             8.        Factual bases and evidence supporting Plaintiffs allegations and affirmative defenses
 4   in Plaintiffs Answer to Defendant 36OHeros, Inc.’s Counterclaim for Infringement of U.S. Patent

 5   No. 9,152,019.

 6             9.        Factual bases and evidence supporting Plaintiffs denial that GoPro’s infringement of
 7   U.S. Patent No. 9,152,019 is willful.
 8             10.       Factual bases and evidence supporting Plaintiffs Invalidity Contentions including,

 9   but not limited to, each ground of invalidity asserted by GoPro in this action.
10             11.       Factual bases and evidence supporting Plaintiffs documents re damages disclosed

11   pursuant to the Court’s June 26, 2017 Order (Dkt. 74) including but not limited to their description,
12   creation, location, author, custodian and whether they were produced and kept in the ordinary course

13   of business.
14             12.       The Accused Instrumentalities identified in this action, the ODYSSEY and the

15   ABYSS rigs.

16             13.       GoPro’s distribution of the accused ODYSSEY and the ABYSS rigs, including all

17   sales and loans of the ODYSSEY and the ABYSS rigs.

18             14.       GoPro’s relationship with Google for the ODYSSEY rig and the ABYSS rig.
19             15.       Plaintiff GoPro’s acquisition of Kolor SARL as alleged in paragraph 15 of the

20   COMPLAINT.

21             16.       The ABYSS rig as alleged in paragraph 15 of the Complaint including, but not

22   limited to, the development of the ABYSS rig, the debut of the ABYSS rig and sales of the ABYSS

23   rigintheU.S.
24             17.       Communications regarding the ODYSSEY rig with representatives of Defendant
25   36OHeros, Inc.
26             18.       Communications regarding the ABYSS rig with representatives of Defendant
27   36OHeros, Inc.

28             19.       Communications between Kolor SARL and representatives of Defendant 36OHeros,

     209703 1.doc-10798-002-8/I 1/2017 3:53 PM                                         Def’s Notice of 30(b)(6) Deposition
                                                          2                                   — Case No. 16-cv-O 1944-SI
 1   Inc. including, but not limited to, communications relating to the non-disclosure agreement between

 2   Kolor SARL and 36OHeros, Inc.

 3            20.       Plaintiff GoPro’s Disclosures.
 4            21.       Plaintiff GoPro’s relationship with Joergen Geerds and Freedom360.

 5            22.       The factual bases and evidence from Joergen Geerds reflecting or evidencing alleged

 6   prior art for U.S. Patent No. 9,152,019.

 7            23.       The factual bases and evidence from Joergen Geerds reflecting or evidencing the

 8   alleged invalidity of one or more claims of U.S. Patent No. 9,152,019.

 9            24.       The factual bases and evidence from Joergen Geerds reflecting or evidencing GoPro’s

10   alleged infringement of one or more claims of U.S. Patent No. 9,152,019.

11            25.       The nature and extent of the search or searches conducted by or for Plaintiff GoPro

12   for documents and things responsive to Defendant’s Interrogatories and Defendant’s Requests for

13   Production.
14            26.       The identification and production of documents and things responsive to Defendant’s
15   Interrogatories and Defendant’s Requests for Production.
16            27.       Plaintiff GoPro’s Responses to Defendant’s Interrogatories and Defendant’s Requests

17   for Production.

18            28.        The authentication of documents and things responsive to Defendant’s
19   Interrogatories and Defendant’s Requests for Production including but not limited to their

20   description, creation, location, author, custodian and whether they were produced and kept in the

21   ordinary course of business.

22            You are invited to attend and cross examine.

23   Dated: August 11, 2017.                                 GAUNTLETY& ASSOCIATES

24
                                                             By:         A/Al
25                                                                    avidA.Ga~~~             V

                                                                    James A. Lo ‘e
26
                                                              ttorneys for Defendant,
27                                                           36OHeros, Inc.
28

     209703 1.doc-10798-002-8/I 1/2017 353 PM                                           Defs Notice of 30(b)(6) Deposition
                                                         3                                    — Case No. 16-cv-O 1944-SI
 1                                              PROOF OF SERVICE
 2          I am employed in the County of Orange, State of California. I am over the age of eighteen
     (18) years and not a party to the within action; my business address is: Gauntlett & Associates,
 3   18400 Von Karman, Suite 300, Irvine, California 92612.

 4             On August 11, 2017, the undersigned served the foregoing document described as:
     DEFENDANT 36OHEROS, INC.’S NOTICE OF RULE 30(b)(6) DEPOSITION TO
 5   PLAINTIFF GOPRO, INC. on the interested parties in this action by placing a true copy thereof
     enclosed in a sealed envelope addressed as follows:
 6
                                            Mehrnaz Boroumand Smith, Esq.
 7                                               Ryan T. Bricker, Esq.
                                      KILPATRICK TOWNSEND & STOCKTON LLP
 8                                         Two Embarcadero Center, Suite 1900
                                               San Francisco, CA 94111
 9
                                                  Erwin Cena, Esq.
10                                               Megan Chung, Esq.
                                      KILPATRICK TOWNSEND & STOCKTON LLP
11                                            12730 High Bluff Dr., #400
                                                SanDiego,CA 92130
12
     [XJ      (BY MAIL) I am “readily familiar” with the firm’s practice of collection and processing
13            correspondence for mailing. Under that practice it would be deposited with U.S. Postal
              Service on that same day with postage thereon fully prepaid at Irvine, California in the
14            ordinary course of business. I am aware that on motion of the party served, service is
              presumed invalid if postal cancellation date or postage meter date is more than one day after
15            date of deposit for mailing in affidavit.

16   [ ]      (BY FACSIMILE) The document was transmitted by facsimile transmission to the above
              fax number with the transmission reported as complete and without error.
17
     [Xj      (BY ELECTRONIC MAIL OR ELECTRONIC TRANSMISSION) I caused the
18            document to be sent to the respective e-mail addresses of the parties as stated above. I did
              not receive, within a reasonable time after the transmission, any electronic message or other
19            indication that the transmission was unsuccessful.

20   [ j      (BY UPS NEXT DAY AIR) I caused such package to be deposited with the UPS Drop
              Box or UPS Air Service Center located at one of the following locations: 18400 Von
21            Karman, Irvine, California 92612 or 2222 Michelson Drive, #222, Irvine, California 92612.

22   [ I      (STATE) I declare under penalty of perjury under the laws of the State of California that
              the above is true and correct.
23
              Executed on August 11, 2017, at Irvine, Califo ia.
24
25   Shannon Allison                                                                YI
26   (Print Name)                                          ________




27
28


     187209.1-10798-002-8 11/2017 4 52 PM                                                 PROOF OF SERVICE
EXHIBIT 288
EXHIBIT 289
1    KILPATRICK TOWNSEND & STOCKTON LLP
     MEHRNAZ BOROUMAND SMITH (SBN 197271)
2    RYAN BRICKER (SBN 269100)
     BYRON R. CHIN (SBN 259846)
3    Two Embarcadero Center, Suite 1900
     San Francisco, California 94111
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     Facsimile: (415) 576-0300
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                rbricker@kilpatricktownsend.com
6               bchin@kilpatricktownsend.com
7    KILPATRICK TOWNSEND & STOCKTON LLP
     MEGAN M. CHUNG (SBN 232044)
8    ERWIN L. CENA (SBN 272960)
     12730 High Bluff Drive, Suite 400
9    San Diego, California 92130
     Telephone: (858) 350-6100
10   Facsimile: (858) 350-6111
     Email:     mchung@kilpatricktownsend.com
11              ecena@kilpatricktownsend.com
12   Attorneys for Plaintiff
     GOPRO, INC.
13
                                       UNITED STATES DISTRICT COURT
14
                           FOR THE NORTHERN DISTRICT OF CALIFORNIA
15
                                            SAN FRANCISCO DIVISION
16
     GOPRO, INC., a Delaware corporation,                  Case No. 3:16-cv-01944-SI
17
                               Plaintiff,                  GOPRO’S AMENDED OBJECTIONS
18                                                         AND RESPONSES TO 360HEROS’
            v.                                             NOTICE OF RULE 30(b)(6) DEPOSITION
19
     360HEROS, INC., a Delaware corporation,
20                                                         Honorable Susan Illston
                               Defendant.                  Complaint filed April 13, 2016
21

22

23          Pursuant to Rules 26 and 30 of the Federal Rules of Civil Procedure, Plaintiff GoPro, Inc.

24   (“GoPro”), by and through its attorneys, provides its Amended Objections and Responses to

25   Defendant 360HEROS’ (“360Heros”) Notice of Rule 30(b)(6) Deposition to Plaintiff GoPro, Inc.

26                                              General Objections

27          1.      GoPro objects to 360Heros’ Notice of Deposition to the extent it seeks to schedule

28   depositions without meeting and conferring in good faith (see L.R. 30-1) with GoPro’s counsel

     GOPRO’S AMENDED OBJECTIONS & RESPONSES TO 360HEROS’
     NOTICE OF RULE 30(b)(6) DEPOSITION – Case No. 3:16-cv-01944-SI                               -1-
1    regarding the scope of the topics and timing of such depositions. GoPro will provide witnesses for
2    deposition, subject to its objections and the agreed-upon topics, and at a time that is mutually agree-
3    able to the parties.
4            2.      GoPro objects to 360Heros’ Notice of Deposition to the extent it seeks information
5    that is not in the possession, custody, or control of GoPro.
6            3.      GoPro objects to 360Heros’ Notice of Deposition to the extent it seeks information
7    that is protected from disclosure by the attorney-client privilege, work product doctrine, or any other
8    privilege.
9            4.      GoPro objects to the extent the noticed topics seek information prematurely, includ-
10   ing, but not limited to, seeking expert opinions, particularly because since the deadline for serving
11   expert reports is not until January 2018. (Dkt. 74.) GoPro will provide expert invalidity reports and
12   make its experts available for depositions in accordance with the timeline ordered by the Court for
13   expert discovery. Id.
14           5.      GoPro objects to the extent the Topics do not provide a timeframe, let alone a reason-
15   zable timeframe, and are therefore overbroad, rendering it difficult, if not impossible, for GoPro to
16   meaningfully investigate and identify possible witnesses.
17           6.      GoPro objects to the extent the Topics provided by 360Heros are subsequently
18   modified from the Topics served by 360Heros on August 11, 2017, and thus would require
19   additional meet-and-confers on the timing and scope of the modified Topics and would further
20   require additional time by GoPro to identify additional custodians. GoPro reserves the right to
21   amend its Objections and Responses based on the outcome of these meet-and-confers.
22           7.      To the extent GoPro is unable to identify a custodian because it is unaware, based on
23   its current investigation, of any witnesses who have knowledge of the subject matter of the Topic,
24   GoPro reserves the right to identify one or more witnesses for that Topic should its ongoing
25   investigation uncover an appropriate witness(es).
26   / / /
27   / / /
28   / / /

     GOPRO’S AMENDED OBJECTIONS & RESPONSES TO 360HEROS’
     NOTICE OF RULE 30(b)(6) DEPOSITION – Case No. 3:16-cv-01944-SI                                  -2-
1                                       Specific Objections and Responses
2    Topic No. 3:
3           Factual bases and evidence supporting Plaintiff’s allegations in its COMPLAINT’S Third
4    Claim for Copyright Infringement.
5    Amended Objections and Response to Topic No. 3:
6           GoPro objects to this Topic to the extent it seeks a legal conclusion regarding “[f]actual bases
7    and evidence supporting Plaintiff’s allegations in its COMPLAINT’S Third Claim for Copyright
8    Infringement.” Subject to its specific objections and GoPro’s General Objections incorporated
9    herein, GoPro will identify one or more witnesses to testify concerning GoPro’s copyrighted works
10   that are the subject of this case, as well as how GoPro produces and uses its product promotion
11   material and the limitations that GoPro puts on third-party use of that material.
12   Topic No. 9:
13          Factual bases and evidence supporting Plaintiff’s denial that GoPro’s infringement of U.S.
14   Patent No. 9,152,019 is willful.
15   Amended Objections and Response to Topic No. 9:
16          GoPro objects to this Topic since 360Heros has not made any factual allegations supporting
17   willful infringement of the ’019 Patent in its Countercomplaint or in its Infringement Contentions
18   served on October 21, 2016. In those Infringement Contentions, 360Heros identified acts before the
19   issuance of the ’019 Patent and acts allegedly involving trademarks and copyrights. GoPro objects to
20   this Topic as it requires GoPro to prove a negative of a claim for which 360Heros has not provided the
21   basis for the allegation. GoPro further objects to this Topic to the extent it seeks a legal conclusion
22   regarding “[f]actual bases and evidence supporting Plaintiff’s denial that GoPro’s infringement of
23   U.S. Patent No. 9,152,019 is willful.” GoPro further objects to the extent the Topic improperly shifts
24   the burden to GoPro to prove 360Heros’ allegation that GoPro willfully infringes claims of the ’019
25   patent and to the extent it demonstrates that 360Heros did not have a basis under Federal Rule of
26   Civil Procedure 11 to allege that GoPro willfully infringes claims.
27          As a result of its specific objections and GoPro’s General Objections incorporated herein,
28   GoPro will identify one or more witnesses regarding the factual basis of GoPro’s non-infringement

     GOPRO’S AMENDED OBJECTIONS & RESPONSES TO 360HEROS’
     NOTICE OF RULE 30(b)(6) DEPOSITION – Case No. 3:16-cv-01944-SI                                   -3-
1    of the ’019 patent (see Objections and Responses to Topic No. 8) and GoPro’s first awareness of the
2    ’019 patent and the published patent application for the ’019 patent.
3    Topic No. 12:
4           The Accused Instrumentalities identified in this action, the ODYSSEY and the ABYSS rigs.
5    Amended Objections and Response to Topic No. 12:
6           GoPro objects to this Topic as vague and ambiguous as to the term “Accused Instrumentali-
7    ties,” to the extent it seeks information beyond the Odyssey and Abyss rigs. GoPro further objects to
8    this Topic as overbroad in that it does not specify the nature of information sought about the Odyssey
9    and Abyss rigs, and to the extent it is seeking irrelevant information that is not likely to lead to
10   admissible evidence.
11          As a result of its specific objections and GoPro’s General Objections incorporated herein,
12   GoPro will identify one or more witnesses to testify concerning the general technical operation of the
13   Odyssey and Abyss rigs.
14   Topic No. 13:
15          GoPro’s distribution of the accused ODYSSEY and the ABYSS rigs, including all sales and
16   loans of the ODYSSEY and the ABYSS rigs.
17   Amended Objections and Response to Topic No. 13:
18          GoPro objects to this Topic as vague and overbroad, and indefinite in the nature of the
19   information it seeks about GoPro’s distribution of its rigs. GoPro further objects to this Topic to the
20   extent it seeks a legal conclusion regarding “distribution” and “sales and loans.” As a result of its
21   specific objections and GoPro’s General Objections incorporated herein, GoPro will identify one or
22   more witnesses to testify generally concerning GoPro’s sales of the Odyssey and Abyss rigs, as well
23   as any non-sale loans or other distributions of the rigs, to the extent that any have occurred.
24   Topic No. 14:
25          GoPro’s relationship with Google for the ODYSSEY rig and the ABYSS rig.
26   Amended Objections and Response to Topic No. 14:
27          GoPro objects to this Topic as vague and ambiguous as to the phrase “relationship … for the
28   ODYSSEY rig and the ABYSS rig.” GoPro objects to this Topic to the extent it calls for a legal

     GOPRO’S AMENDED OBJECTIONS & RESPONSES TO 360HEROS’
     NOTICE OF RULE 30(b)(6) DEPOSITION – Case No. 3:16-cv-01944-SI                                     -4-
1    conclusion regarding any “relationship” that GoPro may have with a non-party to this litigation,
2    Google. GoPro further objects to this Topic to the extent it seeks information that is irrelevant to
3    this case and unlikely to lead to the discovery of admissible evidence, including information about
4    software pertaining to GoPro’s rigs.
5            As a result of its specific objections and GoPro’s General Objections incorporated herein,
6    GoPro will identify one or more witnesses to testify about Google’s role as a customer of any
7    Odyssey or Abyss.
8    Topic No. 17:
9            Communications regarding the ODYSSEY rig with representatives of Defendant 360Heros,
10   Inc.
11   Objections and Response to Topic No. 17:
12           GoPro objects to this Topic as vague, calling for a legal conclusion, and calling for specula-
13   tion regarding “representatives of Defendant 360Heros, Inc.” GoPro further objects to this Request
14   to the extent it seeks information equally available to 360Heros, and thus creates unnecessary burden
15   and expense on GoPro where such burden or expense is unlikely to outweigh any potential benefit.
16   GoPro is unaware of any communications between its employees with “representatives of Defendant
17   360Heros” regarding the Odyssey and therefore is unable to and will not identify a corporate witness
18   to testify on this Topic.
19   Topic No. 20:
20           Plaintiff GoPro’s Disclosures.
21   Amended Objections and Response to Topic No. 20:
22           GoPro objects to this Topic as vague, overbroad, harassing, and not providing reasonable
23   particularity to afford GoPro an opportunity to reasonably investigate and identify relevant wit-
24   nesses, if any. GoPro further objects to the extent this Topic seeks information that is protected by
25   the attorney-client privilege and/or the attorney work product doctrine. As a result of its objections,
26   GoPro will not identify a corporate deponent under Rule 30(b)(6) for this Topic.
27   Topic No. 21:
28           Plaintiff GoPro’s relationship with Joergen Geerds and Freedom360.

     GOPRO’S AMENDED OBJECTIONS & RESPONSES TO 360HEROS’
     NOTICE OF RULE 30(b)(6) DEPOSITION – Case No. 3:16-cv-01944-SI                                   -5-
1    Amended Objections and Response to Topic No. 21:
2           GoPro objects to this Topic as vague and overbroad regarding any “relationship” that
3    GoPro may have with non-parties to this litigation, Joergen Geerds and Freedom 360. GoPro further
4    objects to this Topic to the extent it seeks information irrelevant and unlikely to lead to the discovery
5    of admissible evidence. GoPro further objects to the extent this Topic seeks information that is
6    protected by the attorney work product doctrine. As a result of its specific objections and GoPro’s
7    General Objections incorporated herein, GoPro will identify one or more witnesses to testify as to
8    any contractual or other formal relationship or lack thereof between GoPro and either Joergen
9    Geerds or Freedom360.
10   Topic No. 28:
11          The authentication of documents and things responsive to Defendant’s Interrogatories and
12   Defendant’s Requests for Production including but not limited to their description, creation, location,
13   author, custodian and whether they were produced and kept in the ordinary course of business.
14   Amended Objections and Response to Topic No. 28:
15          GoPro objects to this Topic to the extent it seeks information protected by the attorney-client
16   privilege and the attorney work product doctrine. GoPro objects to the extent this Topic calls for a
17   legal conclusion regarding the “authentication of documents and things responsive to Defendant’s
18   Interrogatories and Defendant’s Requests for Production.” GoPro further objects to this Topic as
19   vague, overbroad, and not providing sufficient particularity for GoPro to be able to meaningfully
20   investigate and respond, particularly since GoPro has produced in excess of 16,000 pages of docu-
21   ments in this litigation. As a result of its objections, GoPro will not identify a corporate witness for
22   this Topic under Rule 30(b)(6).
23   Dated: September 8, 2017                      KILPATRICK TOWNSEND & STOCKTON LLP
24

25                                                  By:
                                                                          Ryan Bricker
26
                                                    Attorneys for Plaintiff
27                                                  GOPRO, INC.
28

     GOPRO’S AMENDED OBJECTIONS & RESPONSES TO 360HEROS’
     NOTICE OF RULE 30(b)(6) DEPOSITION – Case No. 3:16-cv-01944-SI                                    -6-
1                                            PROOF OF SERVICE
2           I, Ryan Bricker, declare:
3           I am employed in the City and County of San Diego, California; I am over the age of
     eighteen years and not a party to the within action; my business address is Kilpatrick Townsend &
4    Stockton LLP, Two Embarcadero Center, Suite 1900, San Francisco, California 94111.
5            On the date set forth below, I served a true and accurate copy of the foregoing document
     entitled GOPRO’S AMENDED OBJECTIONS AND RESPONSES TO 360HEROS’ NOTICE
6    OF RULE 30(b)(6) DEPOSITION on the parties in this action, as follows:
7                       Attorneys for Defendant 360HEROS, INC.:
8                           David A. Gauntlett
                            James A. Lowe
9                           GAUNTLETT & ASSOCIATES
                            18400 Von Karman, Suite 300
10                          Irvine, California 92612
                            Telephone: (949) 553-1010
11                          Facsimile: (949) 553-2050
                            Email:        info @gauntlettlaw.com
12                                        jal@gauntlettlaw.com
13
              [By E-Mail] I sent said document by electronic transmission to the e-mail addresses
14   indicated for the parties listed above.
15            [By First Class Mail] I am readily familiar with my employer’s practice for collecting
     and processing documents for mailing with the United States Postal Service. On the date listed
16   herein, following ordinary business practice, I served the within document at my place of business,
     by causing a true copy thereof, enclosed in sealed envelope with first class postage thereon fully
17   prepaid, addressed as set forth above, to be placed for collection and mailing with the United States
     Postal Service where said envelope would be deposited with the United States Postal Service that
18   same day in the ordinary course of business.
19            [By Overnight Courier] I caused each envelope to be delivered by a commercial carrier
     service for overnight delivery to the offices of the addressees.
20
               [By Hand Delivery] I directed each envelope to the parties so designated on the service
21   list to be delivered by courier this date.
22          I declare under penalty of perjury that the foregoing is true and correct and that this
     declaration was executed on September 8, 2017, at San Diego, California.
23

24

25
                                                                                Ryan Bricker
26

27

28   70132967V.1

     GOPRO’S AMENDED OBJECTIONS & RESPONSES TO 360HEROS’
     NOTICE OF RULE 30(b)(6) DEPOSITION – Case No. 3:16-cv-01944-SI
EXHIBIT 290
1    KILPATRICK TOWNSEND & STOCKTON LLP
     MEHRNAZ BOROUMAND SMITH (State Bar No. 197271)
2    RYAN BRICKER (State Bar No. 269100)
     BYRON R. CHIN (State Bar No. 259846)
3    Two Embarcadero Center, Suite 1900
     San Francisco, California 94111
4    Telephone: (415) 576-0200
     Facsimile: (415) 576-0300
5    Email:     mboroumand@kilpatricktownsend.com
                rbricker@kilpatricktownsend.com
6
     KILPATRICK TOWNSEND & STOCKTON LLP
7    MEGAN M. CHUNG (State Bar No. 232044)
     ERWIN L. CENA (State Bar No. 272960)
8    12730 High Bluff Drive, Suite 400
     San Diego, California 92130
9    Telephone: (858) 350-6100
     Facsimile: (858) 350-6111
10   Email:     mchung@kilpatricktownsend.com
                ecena@kilpatricktownsend.com
11
     Attorneys for Plaintiff
12   GOPRO, INC.
13                                     UNITED STATES DISTRICT COURT

14                         FOR THE NORTHERN DISTRICT OF CALIFORNIA

15                                          SAN FRANCISCO DIVISION

16   GOPRO, INC., a Delaware corporation,                  Case No. 3:16-cv-01944-SI
17                             Plaintiff,                  PLAINTIFF’S FIRST AMENDED
                                                           INITIAL DISCLOSURES
18          v.
19   360HEROS, INC., a Delaware corporation,
                                                           Honorable Susan Illston
20                             Defendant.                  Complaint filed April 13, 2016
21

22          Pursuant to Federal Rule of Civil Procedure 26(a)(1), Plaintiff GoPro, Inc. (“GoPro”)

23   submits the following Amended Initial Disclosures.

24          These Amended Initial Disclosures are preliminary in nature, based upon information

25   reasonably available to GoPro at the time of the disclosure. GoPro bases these disclosures on its

26   current knowledge, understanding, and belief as to facts and information available on the date of

27   these disclosures. GoPro’s investigation and discovery in this matter are ongoing. GoPro reserves

28   the right to amend and/or supplement these Initial Disclosures as pertinent facts become known in

     PLAINTIFF’S FIRST AMENDED INITIAL DISCLOSURES
     Case No. 3:16-cv-01944-SI                                                                      -1-
1    the future, as contemplated by Federal Rules of Civil Procedure 26(e) and 37(c). GoPro further
2    expressly reserves all objections, including those based on privilege and the appropriate scope of
3    discovery.
4    I.     Individuals Likely to Have Discoverable Information That GoPro May Use to Support
            Its Claims and Defenses
5

6           The following is a list of persons likely to have discoverable information that GoPro may use
7    to support its claims and defenses. GoPro anticipates that it may discover additional persons, includ-
8    ing third-party witnesses, with knowledge of discoverable information. GoPro reserves the right to
9    amend and/or supplement this disclosure if additional individuals become known who are likely to
10   become witnesses but are not otherwise disclosed in the discovery process. GoPro also identifies
11   witnesses identified in 360Heros’ disclosures pursuant to Federal Rule of Civil Procedure 26(a).
12          Several of the following individuals are current employees of GoPro who can be contacted
13   through the undersigned counsel.
14
                  Name/Contact                                          Subject
15
      Justin Wilkenfeld                    Knowledge of GoPro’s brand and business; GoPro’s efforts
16    GoPro employee                       to market, advertise, and publicize its camera and rig products,
      c/o Kilpatrick Townsend &            including under the HERO trademark; the strength of the HERO
17      Stockton LLP                       trademark; advertising spent for GoPro’s products; market
                                           research and distribution channels for GoPro’s products; the
18                                         impact of 360Heros’ trademark infringement, unfair competition,
                                           and copyright infringement.
19
                                           Knowledge of GoPro produced content, including GoPro’s
20                                         copyrighted product photography.

21    Alexandre Jenny                      Knowledge of 360Heros and communications between Kolor and
      GoPro employee                       360Heros, including, but not limited to, communications relating
22    c/o Kilpatrick Townsend &            to the NDA agreement between Kolor and 360Heros.
        Stockton LLP                       General knowledge of marketing, advertising, and publicity
23                                         efforts related to the ABYSS trademark and rig.
24                                         General knowledge of sales of the ABYSS rig.
                                           General knowledge of the design and development of the ABYSS
25                                         rig.
26    Michael Kintner                      Adoption of the 360HEROS and 360ABYSS marks; products
      Founder/CEO of 360Heros              and/or services offered, or to be offered, in connection with the
27                                         360HEROS and 360ABYSS marks; manner and use, or planned
                                           use, of the 360HEROS and 360ABYSS marks, including by
28                                         customers, partners, and licensees; marketing and/or advertising
     PLAINTIFF’S FIRST AMENDED INITIAL DISCLOSURES
     Case No. 3:16-cv-01944-SI                                                                      -2-
1
              Name/Contact                                       Subject
2
                                     of products and/or services offered, or to be offered, in con-
3                                    nection with the 360HEROS and 360ABYSS marks; customers
                                     of the products and/or services offered, or to be offered, in
4                                    connection with the 360HEROS and 360ABYSS marks; first use
                                     date of the 360HEROS and 360ABYSS marks; first use date of
5                                    the 360HEROS and 360ABYSS marks in interstate commerce;
                                     awareness of the 360HEROS and 360ABYSS marks; knowledge
6                                    of the goods and services offered in connection with the
                                     360HEROS and 360ABYSS marks.
7                                    Awareness of the HERO and ABYSS trademarks.
8                                    Use of GoPro’s copyrighted content.
                                     360Heros’ efforts to associate itself with GoPro.
9
                                     The purported design, development, and manufacture of the
10                                   ABYSS360 rig, and the application for U.S. Patent No. 9,152,019
                                     (the ’019 patent), including issues related to conception, reduc-
11                                   tion to practice, diligence, and prior art for that patent.
                                     Mr. Kintner may also have information relevant to GoPro’s
12                                   affirmative defenses of invalidity, prosecution history estoppel,
                                     and unclean hands, including inequitable conduct.
13
      Ingrid Cotoros                 Knowledge of design and development of the Odyssey rig.
14    GoPro employee
      c/o Kilpatrick Townsend &
15      Stockton LLP

16    Jonathan Thorn                 Knowledge of marketing and offers for sale of the Odyssey rig.
      GoPro employee
17    c/o Kilpatrick Townsend &
        Stockton LLP
18
      Alisa Leung                    Financial information regarding the Odyssey and Abyss rigs.
19    GoPro employee
      c/o Kilpatrick Townsend &
20      Stockton LLP

21    Peter Bilinski                 Prosecution of Application No. 14/072,656, prior art relevant
      Barclay Damon LLP              to the ’019 patent, ownership of rights to the ’019 patent.
22    Barclay Damon Tower            Mr. Kintner may also have information relevant to unclean hands,
      125 East Jefferson Street      including inequitable conduct, by 360Heros and/or Mr. Kintner.
23    Syracuse, New York 13202

24    Joergen Geerds                 Prior art relevant to the ’019 patent. Mr. Geerds may also have
      c/o Michael Andri              information relevant to unclean hands, including inequitable
25    Andri Consulting               conduct, by 360Heros and/or Mr. Kintner.
      2240 North Interstate Avenue
26    Suite 270
      Portland, Oregon 97227
27    Michael@andriconsulting.com

28   / / /

     PLAINTIFF’S FIRST AMENDED INITIAL DISCLOSURES
     Case No. 3:16-cv-01944-SI                                                               -3-
1    II.     Documents That GoPro May Use to Support Its Claims and Defenses
2            GoPro may use the following categories of documents (including electronically stored

3    information) and tangible things (hereinafter “documents”) that are in its possession, custody, or

4    control to support its claims or defenses in this action. The documents are located at GoPro’s offices

5    and/or at the offices of its attorneys. GoPro expressly reserves the right to include additional docu-

6    ment categories identified by 360Heros in connection with its disclosures and discovery responses.

7    No documents will be produced with this disclosure, due to the ongoing search for documents and

8    the necessity of entering into an agreement protecting confidentiality of certain categories of docu-

9    ments. Further, GoPro will not produce documents that are protected from discovery by the

10   attorney-client privilege, the work-product doctrine, or any other applicable privilege or protection

11   from discovery. In general, pertinent documents fall into categories as follows:

12           • Copies of GoPro’s United States trademark filings and submissions to the United

13              States Patent and Trademark Office;

14           • Documents related to the use, promotion, advertising, public recognition, protection,

15              and enforcement of the HERO trademark;

16           • Documents related to the use, promotion, advertising, public recognition, protection,

17              and enforcement of the ABYSS trademark;

18           • Documents related to the efforts and investment in the growth of consumer

19              recognition of the HERO and ABYSS trademarks;

20           • Documents relating to GoPro’s product photography, video product tutorials,

21              and marketing collateral, including GoPro’s copyrighted content identified in

22              paragraphs 35-36 of the Complaint;

23           • Pertinent copyright registrations;

24           • Documents related to 360Heros’ use of GoPro’s copyrighted content;

25           • Documents related to 360Heros’ use of GoPro’s HERO and ABYSS trademarks;

26           • Documents related to 360Heros’ adoption and use of the 360HEROS and

27              360ABYSS marks;

28   / / /

     PLAINTIFF’S FIRST AMENDED INITIAL DISCLOSURES
     Case No. 3:16-cv-01944-SI                                                                       -4-
1            • Documents related to the target consumers and distribution channels for GoPro and
2               360Heros’ respective products and services;
3            • Documents concerning U.S. Patent No. 9,152,019, including the patent, its file
4               history, related patents and patent applications, and prior art;
5            • Documents sufficient to show the design, development, manufacture, marketing,
6               and sale of the Odyssey rig product;
7            • Documents sufficient to show the design, development, manufacture, marketing,
8               and sale of the ABYSS rig product; and
9            • Documents relating to damages GoPro has suffered as a result of 360Heros’
10              conduct.
11   III.    Computation of Damages/Documents Upon Which Computation Is Based
12           Pursuant to 15 U.S.C. § 1117(a), GoPro is entitled to 360Heros, Inc.’s profits and to
13   compensatory damages, including its own lost profits, the cost of corrective advertising, and damage
14   to GoPro’s goodwill.
15           Pursuant to sections 504(b) and 504(c) of the Copyright Act, 17 U.S.C. § 504(b)-(c), GoPro
16   is entitled to recover from 360Heros the damages it has sustained and will sustain, including statu-
17   tory damages, and any profits obtained by 360Heros as a result of or attributable to the infringement.
18           GoPro will also seek recovery of its attorneys’ fees. Given that discovery with respect to
19   damages is ongoing and expert discovery has not yet occurred, GoPro is unable to compute damages
20   at this time. GoPro may also seek recovery of extraordinary damages if discovery warrants it.
21           GoPro reserves the right to amend and/or supplement this disclosure or to provide discovery
22   as additional information becomes available.
23   / / /
24   / / /
25   / / /
26   / / /
27   / / /
28   / / /

     PLAINTIFF’S FIRST AMENDED INITIAL DISCLOSURES
     Case No. 3:16-cv-01944-SI                                                                       -5-
1    IV.     Insurance Policies
2            360Heros produced insurance agreements in this matter at 360H-02634, 360H-02657, and 360H-

3    02681. Otherwise, GoPro is unaware of any potentially applicable policy of insurance covering all or a

4    portion of the claims at issue.

5

6    Dated: April 26, 2017                         Respectfully submitted,
7                                                  KILPATRICK TOWNSEND & STOCKTON LLP
8

9                                                  By:
                                                                        Ryan T. Bricker
10
                                                   Attorneys for Plaintiff
11                                                 GOPRO, INC.
12

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     PLAINTIFF’S FIRST AMENDED INITIAL DISCLOSURES
     Case No. 3:16-cv-01944-SI                                                                       -6-
1                                            PROOF OF SERVICE
2           I, Robert Brown, declare:
3           I am employed in the City and County of San Francisco, California; I am over the age of
     eighteen years and not a party to the within action; my business address is Kilpatrick Townsend &
4    Stockton LLP, Two Embarcadero Center, Suite 1900, San Francisco, California 94111.
5            On the date set forth below, I served a true and accurate copy of the foregoing document
     entitled PLAINTIFF’S FIRST AMENDED INITIAL DISCLOSURES on the parties in this action,
6    as follows:
7                       Attorneys for Defendant 360HEROS, INC.:
8                           David A. Gauntlett
                            James A. Lowe
9                           GAUNTLETT & ASSOCIATES
                            18400 Von Karman, Suite 300
10                          Irvine, California 92612
                            Telephone: (949) 553-1010
11                          Facsimile: (949) 553-2050
                            Email:        info @gauntlettlaw.com
12                                        jal@gauntlettlaw.com
13
             [By E-Mail] I caused said document to be sent by electronic transmission to the e-mail
14   addresses indicated for the parties listed above.
15            [By First Class Mail] I am readily familiar with my employer’s practice for collecting
     and processing documents for mailing with the United States Postal Service. On the date listed
16   herein, following ordinary business practice, I served the within document at my place of business,
     by placing a true copy thereof, enclosed in sealed envelope with postage thereon fully prepaid,
17   addressed as set forth above, for collection and mailing with the United States Postal Service where
     said envelope would be deposited with the United States Postal Service that same day in the ordinary
18   course of business.
19            [By Overnight Courier] I caused each envelope to be delivered by a commercial carrier
     service for overnight delivery to the offices of the addressees.
20
               [By Hand Delivery] I directed each envelope to the parties so designated on the service
21   list to be delivered by courier this date.
22          I declare under penalty of perjury that the foregoing is true and correct and that this
     declaration was executed on April 26, 2017, at San Francisco, California.
23

24

25
                                                                            Robert Brown
26

27

28   69040910V.1

     PLAINTIFF’S FIRST AMENDED INITIAL DISCLOSURES
     Case No. 3:16-cv-01944-SI
EXHIBIT 325
 1   GAUNTLETT & ASSOCIATES
     David A. Gauntlett (SBN 96399)
2    James A. Lowe (SBN 214383)
      18400 Von Karman, Suite 300
 3   Irvine, California 92612
     Telephone:      (949) 553-1010
4    Facsimile:      (949) 553-2050
     info(~gaunt1ett1aw.com
 5   j a1~gaunt1ett1aw. corn
 6   Attorneys for Defendant
     36OHEROS, INC.
 7

 8

 9                                  UNITED STATES DISTRICT COURT
10                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
11

12   GOPRO, INC., a Delaware corporation,              )    Case No.: 16-cv-0 1944-SI
                                                       )
13                          Plaintiff,                      EXHIBIT 325: VIDEO
14            vs.                                      )
                                                       )
15                                                     )
     36OHEROS, INC., a Delaware corporation,           )
16                                                     )
                            Defendant.                 )
17                                                     )
                                                       )
18                                                     )
19

20

21                                  MANUAL FILING NOTIFICATION

22   Regarding: EXHIBIT 325 to the DECLARATION OF JAMES A. LOWE

23   This filing is in physical form only, and it is being maintained in the case file in the Clerk’s office.
24   If you are a participant on this case, this filing will be served in hard-copy directly.

25

26   For information on retrieving this filing directly from the court, please see the court’s main web site

27   at http://www.cand.uscourts.gov under Frequently Asked Questions (FAQ).

28

     214512.1-10798-002                                                             MANUAL FILING NOTIFICATION
                                                                                           — Case No. 16-cv-01944-SI
 1           This filing was not e-filed for the following reason:

2            Non-graphical/Textual Computer File: A Removable USB Drive containing a video of the

3    GoPro ABYSS rig previously produced by GoPro at Bates No. GP 2555.
4

 5

 6

 7   Dated: October 6, 2017                                   GAUNTLETT & ASSOCIATES

 8
                                                              By:    /s/James A. Lowe
 9                                                                   David A. Gauntlett
                                                                     James A. Lowe
10
                                                              Attorneys for Defendant,
11                                                            36OHEROS, INC.

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     214512.1-10789-002                                   1                         MANUAL FILING NOTIFICATION
                                                                                           — Case No. 16-cv-01944-SI
EXHIBIT 356
                 ODYSSEY INFRINGEMENT


                                   32 Center support body




                                              c-I
                                                    360H-16959




                 r
Receptacles 50                    40 Support arms
                              32 Center support body
                              (structure bounded by
                              the drawn in circle)




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                      G




                                               360H-16959




Latching feature 56
Open-ended enclosure             Support arms 40
and Receiving cavity 54



                            A

                     ...

                  .11




                                               360H-16978




     Receptacle 50         Latching feature 56
                           (portal for camera lens)
Camera 20   Camera attachment
            (Bacpac)




                            360H-16952
              Camera attachment
Camera 20     (Bacpac) latched to
              Camera 20




            AM11:O5AU    22/2017

                                360H-16953
                      Camera(s) 20 in
                      Receptacle(s) 50




                             M12:3 A 6         2
                                                   360H-16983




                            Latching feature 56
Latching feature 56         (portal for camera lens)
Camera(s) 20 in Receptacle(s) 50




                                   360H-1 6949
Common center apex 60




                        d
                        I
                        S




                                                  360H-16985




                            Cameras 20 in a
                            predetermined orientation
          30 Support




‘4




     M1O:49 A

                       36014-16947
           ODYSSEY              -   USING GOPRO’S DOCUMENTS



                          Case 3:16-cv-01944-Sl Document 91-2 Filed 09/15117 Page 9 of 48



Bottom View,                                                                                 40 Support arms
Center support body 32                                                                      ________________


                                /

                           /
                                                      a
                                                                                  1
                                                                             /


                                                                                             40 Support arms


      Bottom View, Camera 20                                                                   oP (360) 00015915

      and Open-ended
      enclosure and Receiving
      cavity 54




                 FROM GOPRO                         -     CENA EXHIBIT E
                    Case 3:16-cv-01944-SI Document 91-5 Filed 09115/17 Page 31 of 46


Receptacle 50                                                                           Open-ended enclosure
                                                                                        and Receiving cavity 54


                                                        10

                                                                                       11




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         /

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     /
     a




                                                                                             GP (360) 00015942




                                                   Latching feature 56




                 FROM GOPRO                  -   CENA EXHIBIT KK
m
x
w
w
U,
ABYSS INFRINGEMENT

                      30 Support, Support body,
                      Center support body




      GP (360) P101




                                              360H-16995
                                                              Support anns




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                                                                 .7       C
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                                          C




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                                                                              360H-16996




                                          ‘V  40 Support arms
30 Support, Support body,                       40 Support arms
Center support body




                                        PM 1:

                                                              360H.17014




                            Camera 20
L~en~ended enclosure 54




                          3601-1-17016




        40 Support arms
Receptacle 50
(with the four posts for
the camera 20)




                           360H-17025
Latching feature 56




                                          360H-17025




                      Open-ended enclosure 54
Camera 20




                                 (f




            ‘4




                       1:52 AUG/22/201 7

                                         360H17010




                 Receptacle 50 with the
                 lens portal to receive and
                 hold the camera 20
Camera 20




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                                             r



            rev.     •       ‘IflbIbbwI,uju,,,
                         I     ~           ~
            ~ lObn               - I qIvIIda,~ don




                                                                   360H-17004




                                  Latching feature 56, structure
                                  for securement and release
            Open-ended enclosure 54,
            open structure to hold or
            retain (framed by the
            drawn in lines~




                                   360H-17005




Camera 20
EXHIBIT 358
K IL. PATRICK                                                                KILPATRICK TOWNSEND & STOCKTON LLP
TOW N SEND                                                                            www.kilpatricktownsend.com
ATTORNEYS AT LAW




December 2, 2016


Via U.S. Mall
David A. Gauntlett
James A. Lowe
GAUNTLETT & ASSOCIATES
18400 Von Karman, Suite 300
Irvine, California 92612
          Re:      GoPro, Inc. v. 36OHeros, Inc.
                   Our File No. 097955-1008311


Counsel:
      Please find the enclosed disc containing GoPro production documents Bates numbered
GP (360) 00000001 GP (360) 00002636 in the above referenced matter.
                        —




        Documents produced pursuant to Patent L.R. 3-4(a) can be found at the following Bates
ranges: GP (360) 00002508 GP (360) 00002529, and GP (360) 00002555. Some of this
                                —


material has been designated, “Highly Confidential-Attorneys’ Eyes Only” pursuant to the default
N.D. Cal. Patent Local Rule 2-2 Interim Model Protective Order which automatically applies the
Protective Order unless the Court enters a different protective order. The remainder of the
document production includes prior art pursuant to Patent L.R. 3-4(b).
                                                   \lyyour~7


                                                   Louis J. Ferrari
                                                   Case Manager

LJF/Encl.
63190901 vi
EXHIBIT 359
 1   GAUNTLETT & ASSOCIATES
     David A. Gauntlett (SBN 96399)
2    James A. Lowe (SBN 214383)
      18400 Von Karman, Suite 300
 3   Irvine, California 92612
     Telephone:      (949) 553-1010
4    Facsimile:      (949) 553-2050
     info(~gaunt1ett1aw.com
 5   jal(~gauntlettlaw.com

 6   Attorneys for Defendant
     360HEROS, INC.
 7

 8

 9                                  UNITED STATES DISTRICT COURT
10                        FOR THE NORTHERN DISTRICT OF CALIFORNIA

11

12   GOPRO, INC., a Delaware corporation,              )    Case No.: 16-cv-0 1944-SI
                                                       )
13                          Plaintiff,                      EXHIBIT 359: VIDEO
14            vs.                                      )
                                                       )
15                                                     )
     36OHEROS, INC., a Delaware corporation,           )
16                                                     )
                            Defendant.                 )
17                                                     )
                                                       )
18                                                     )
19
20

21                                   MANUAL FILING NOTIFICATION

22   Regarding: EXHIBIT 359 to the DECLARATION OF JAMES A. LOWE

23   This filing is in physical form only, and it is being maintained in the case file in the Clerk’s office.
24   If you are a participant on this case, this filing will be served in hard-copy directly.

25

26   For information on retrieving this filing directly from the court, please see the court’s main web site
27   at http://www.cand.uscourts.gov under Frequently Asked Questions (FAQ).

28

     214513.1-10798-002                                                             MANUAL FILING NOTIFICATION
                                                                                           — Case No. 16-cv-01944-SI
 1           This filing was not e-filed for the following reason:

2            Non-graphical/Textual Computer File: A Removable USB Drive containing a video of the

3    GoPro ODYSSEY rig previously produced by 36OHeros, Inc. at Bates No. 360H 17055.
4

 5

 6

 7   Dated: October 6, 2017                                  GAUNTLETT & ASSOCIATES
 8
                                                             By:     /s/James A. Lowe
 9                                                                   David A. Gauntlett
                                                                     James A. Lowe
10
                                                             Attorneys for Defendant,
11                                                           36OHEROS,1NC.

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     214513.1-10789-002                                  1                         MANUAL FILING NOTIFICATION
                                                                                          — Case No. 16-cv-01944-SI
EXHIBIT 360
                         100317.txt




1          UNITED STATES DISTRICT COURT

2     FOR THE NORTHERN DISTRICT OF CALIFORNIA

 3

4

 5

 6
     GOPRO, INC.3 a Delaware              )
 7   corporation,                         )
                                          )
 8                     Plaintiff,         )
                                          )   Case No.
 9           vs.                          )   16-cv-01944-SI
                                          )
10   36OHEROS, INC., a Delaware           )
     corporation,                         )
11                                        )
                       Defendant.         )
12                                        )
13

14

15
                      ---000---
16
               TUESDAY, OCTOBER 3, 2017
17
            DEPOSITION OF ALEXANDRE JENNY
18
     CONFIDENTIAL TRANSCRIPT ATTORNEYS’ EYES ONLY
19
                      ---000---
20

21

                            Page 1
                                 100317 .txt
22

23

24
     REPORTER: BALINDA DUNLAP, CSR 18710, RPR, CRR, RMR
25



                           ROUGH DRAFT




 1                  APPEARANCES

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 3
     FOR THE PLAINTIFF:
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 1   have Mr. Kintner come in.

 2             Were you involved in the production of

 3   this video shown in Exhibit 325?

4        A.    Nope.

 5       Q.    I will proceed with it.      You recognize      12:31:43

 6   that product shown there in Exhibit 325 is what?

 7       A.    The Abyss rig.

 8             (Playing video.)

 9       Q.    BY MR. SCHEWE:     Is that true, to create

10   360 degree videos, a true statement?                      12:32:13

11       A.    Yes.

12             Playing video.

13

14       Q.    BY MR. SCHEWE:     Are those statements true

15   about being compatible with the GoPro hero cameras?       12:32:34

16             MS. CHUNG:     Objection; misstates the video

17   record.

18             THE WITNESS:     It is compatible with the

19   Hero 3, 3 plus and 4.

20       Q.    BY MR. SCHEWE:     And there is a frame         12:32:53

21   there; isn’t that correct?

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22             MS. CHUNG:      Objection; form.

23             THE WITNESS:      What do you mean by frame?

24             Playing video.

25                                                                    12:33:22



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 1       Q.     BY MR. SCHEWE:     The mention thereof a

 2   frame made of an a diced aluminum; is that a true

 3   statement?

 4       A.     It is the body, yes.

 5       Q.     It is a frame?                                        12:33:37

 6              MS. CHUNG:     Objection; form.

 7              THE WITNESS:     I don’t know what is the

 8   name of this part of the hardware.          I call it the

 9   body.    You say it is the frame.        I don’t know which

10   is the truth there is on the true definition of                  12:33:49

11   that.

12       Q.     BY MR. SCHEWE:     His statement is true,

13   though, when he calls something a frame?

14              MS. CHUNG:     Objection; form.

15              THE WITNESS:     It says in the video it is           12:34:03

16   frame body or any type of definition of the same
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17   aluminum housing.

18            Playing video.

19

20       Q.   BY MR. SCHEWE:     In this video, at the 53         12:34:58

21   second mark, you see that’s the Kolor Abyss, you

22   recognize that at the 53 second mark?

23       A.   That’s correct.

24       Q.   Are those portals sitting inside that

25   domes is that correct, those are openings?                   12:35:12



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              MS. CHUNG:     Objection; form.

              THE WITNESS:     These are the domes.

 3       Q.   BY MR. SCHEWE:     But then those domes look

 4   to be two openings?

 5       A.   Two holes, yeah.                                    12:35:24

 6       Q.   What are those two holes for?

 7       A.   One hole is to have the lens of the GoPro

 8   to go through, and the second hole is to be able to

 9   see the LCD screen.

10       Q.   The first hole was specifically designed            12:35:44

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13            THE WITNESS:     Yes, onto the dome.

14            (Playing video.)

15       Q.   BY MR. SCHEWE:     Now, we are seeing about          12:42:15

16   the 211 mark in this exhibit, the camera there is

17   between you call four posts or four screws.     What

18   do you call those silver items?

19       A.   Four piece of metal.     I don’t know the

20   name.                                                         12:42:37

21       Q.   Why are those pieces of metal arranged as

22   they are on the Abyss, why is that?

23       A.   That’s to held the camera into the

24   locations.

25            (Playing video.)                                     12:43:07



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 1       Q.   BY MR. SCHEWE:     About the 2:23 mark, 2:24

 2   mark, can you identify what’s shown there.      Looks

 3   like we are seeing the openings.      Can you identify

 4   that?

 5       A.   We see the two factor, the two holes in              12:43:34

 6   the dome, one display the LCD and the second one is

 7   we see the lenses of the GoPro going through.
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17       Q.     What is shown there in Exhibit 328?

18       A.     The picture is showing the Abyss rig fully

19   mounted.

20       Q.     The domes are shown there also?                   01:46:58

21       A.     We see at least three domes.

22       Q.     And the domes extend outwardly from the

23   body?

24              MS. CHUNG:     Objections form.   Objection to

25   the extent seeking expert opinion.                           01:47:14



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 1              THE WITNESS:     Partially.

 2                 (Reporter marked Exhibit No. 329 for

 3                  identification.)

 4       Q.     BY MR. SCHEWE:     I hand you the next

 5   exhibit, Exhibit 329.       Please review that.              01:47:46

 6              Mr. Jenny, have you seen this document

 7   previous, Exhibit 329?

 8       A.     I never saw that picture before.

 9       Q.     What is shown in Exhibit 329?

10       A.     We see on that picture the back part of           01:48:53

11   the dome that holds the GoPro camera.
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10      Q.    BY MR. SCHEWE:     I hand you next Exhibit          02:09:54

11   335 and ask you to review that, please.

12            Have you seen this document previously?

13       A.   I never saw that picture before.

14       Q.   Can you identify what’s shown in that

15   Exhibit 335, please?                                         02:10:32

16       A.   It’s a part of the Odyssey.

17       Q.   You see the surfaces that are flattened

18   toward the exterior portion of that rig?

19            MS. CHUNG:     Objection; form.

20            THE WITNESS:     I don’t see what you are           02:10:54

21   talking about.

22       Q.   BY MR. SCHEWE:     Near the wedge shapes, the

23   numbered 8, 9, 10, 11?

24       A.   Yes, I saw that.

25       Q.   In between the wedge shapes say 9 and 10,           02:11:05



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 1   you go up the document there’s a flat surface

 2   there, looks like an opening.     Do you know why that

 3   surface is flattened like that?

 4            MS. CHUNG:     Objection; foundation; form.
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 5               THE WITNESS:        It is part of the design,          02:11:26

 6   yes.

 7          Q.   BY MR. SCHEWE:        Design for what?

 8          A.   For the rig.

 9          Q.   Is that where the camera goes?

10          A.   That’s what    --    I think so, yep.                  02:11:41

11          Q.   So it is designed to sit up against the

12   camera; isn’t that right?

13               MS. CHUNG:     Objection; foundation, form.

14               THE WITNESS:        It’s the location where the

15   camera goes, yeah.                                                 02:11:58

16               MR. SCHEWE:     I’ll get Mike back in here.

17                  (Reporter marked Exhibit No. 336 for

18                   identification.)

19          Q.   BY MR. SCHEWE:        I’ll hand you the next

20   exhibit, Exhibit 336.           I have a few questions for         02:13:36

21   you on that document, Exhibit 336, titled the

22   “defendant’s amended notice of deposition and

23   request for production of documents to Alexandre

24   Jenny.”

25               Have you seen this document, Exhibit 336,              02:14:31



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